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                              Exhibit D
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

NATIONAL ASSOCIATION FOR GUN
RIGHTS, and SUSAN KAREN GOLDMAN,
                                         No. 1:22-cv-04774
                Plaintiffs,
                                         Honorable Harry D. Leinenweber
     v.
CITY OF HIGHLAND PARK, ILLINOIS,         Honorable Jeffrey T. Gilbert
                Defendant.




                      DECLARATION OF PHIL ANDREW




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                               DECLARATION OF PHIL ANDREW

      I, Phil Andrew, declare under penalty of perjury that the following is true and correct:

       1.         This declaration is based on my personal knowledge and experience, and if I am

called as a witness, I could and would testify competently to the truth of the matters discussed in

this declaration.

       2.         All opinions contained herein are made pursuant to a reasonable degree of

professional certainty. My curriculum vitae, which is attached as Exhibit A, documents my

educational and professional experience in detail.

       3.         I am the Principal of PAX Group, LLC, a crisis and conflict management

consultancy that supports leaders and organizations in navigating challenging circumstances and

environments, including crisis planning and response, violence prevention, public safety, and

investigations.

       4.         In my professional capacity, I am called to provide consultation to organizations

and communities, often specifically regarding how to prevent and respond to mass shooting

incidents.

       5.         From 2018-2022, I was the Director of Violence Prevention for the Archdiocese

of Chicago. In that role, I was responsible for supporting crisis planning and response, violence

prevention, and community partnerships for its large private school system of 180 schools and

300 Parishes, and I coordinated efforts to triage social service response services to violence-

affected communities.

       6.         Before that, I was employed as a Special Agent for the Federal Bureau of

Investigation for 21 years, from 1997 through 2018, in Kansas City, New York, and Chicago.




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During my career with the FBI, I received the CIA Outstanding Service Award and numerous

FBI Service, Achievement, and Merit awards.

        7.      As a Special Agent for the FBI, I was responsible for a broad range of

investigations and assignments. Specifically, my work focused on crisis negotiation and violence

prevention. I was certified as an FBI Crisis Negotiator and served on and led crisis response

teams deployed to address domestic and international crises and train state, local, and federal law

enforcement officers in crisis response, including mass shooting incidents.

        8.      As a Special Agent for the FBI, I also served throughout the U.S. and overseas,

providing expertise in violence prevention, counterterrorism, counterintelligence, crisis

management, hostage negotiation, crimes against children, undercover work, behavioral analysis,

and broad investigative experience. I have led complex investigations and was regularly

deployed on domestic and international kidnappings and hostage-takings.

        9.      While in the FBI, I was trained on the FBI’s arsenal of weapons, including the

MP5, the AR-15, and the M1.

        10.     I have a J.D. from DePaul University College of Law and a B.A. in History from

the University of Illinois.

        11.     I am an Adjunct Instructor of Negotiation, Business Intelligence, Leadership, and

Ethics at DePaul University’s Kellstadt Graduate School of Business and Department of

Management & Entrepreneurship.

        12.     I am also an Adjunct Instructor of Crisis and Conflict Management and Policing

with Compassion at Northwestern University Center for Public Safety.

        13.     I am an Advisory Board Member for the Chicago-Kent School of Law’s Center

for National Security and Human Rights Law.



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         14.    I am a licensed attorney in the State of Illinois.

         15.    I am a licensed detective in the State of Illinois.

         16.    In the last ten years, I have published three opinion editorials: “Compassion in

policing would help cops, communities” in the Chicago Sun-Times (with Ed Frauenheim),1

“Stress-coping skills vital for police reform” in Crain’s Chicago Business,2 and “How we can

stop the next mass shooting” in the Daily Herald.3

         17.    In the past four years, I have served as an expert in Viramontes v. The County of

Cook, Case No. 21-cv-04595 (N.D. Ill.).

         18.    I have reviewed the complaint filed in this case, National Association for Gun

Rights v. City of Highland Park, Illinois, Case No. 1:22-cv-04774 (N.D. Ill.), and the Highland

Park ordinance challenged in this lawsuit, Highland Park Ord. No. 68-13 (the “Highland Park

Assault Weapons Ban”).

                                   SUMMARY OF OPINIONS

         19.    Based on my experience, assault weapons and large-capacity magazines, as

described in the Highland Park Assault Weapons Ban,4 in their conception, design, capacity,

marketing, and unlawful use have a highly disproportionate impact on public safety and present a

unique modern public safety threat.



1
 https://chicago.suntimes.com/2022/5/3/23049317/compassion-in-policing-would-help-cops-
communities.
2
  https://www.chicagobusiness.com/forum-ideas-police-reform/stress-coping-skills-vital-police-
reform.
3
    https://www.dailyherald.com/discuss/20220717/how-we-can-stop-the-next-mass-shooting.
4
 Highland Park Ordinance No. 68-13, “An Ordinance Amending Chapter 134 of ‘The Highland
Park Code of 1968,’ As Amended, Regarding Assault Weapons.”

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        20.    Limiting access to assault weapons5 and large-capacity magazines helps prevent

criminals and other individuals who pose a risk to themselves or others from killing and injuring

others, and advances public safety without interfering with law-abiding citizens’ ability to

protect themselves.

                                          DISCUSSION

        21.    As a public safety and crisis management professional, I support communities and

organizations in assessing, preparing for, and managing safety. Many of the organizations and

communities I serve are concerned about the prevention of and response to mass shootings.

        22.    Mass shootings are a relatively new phenomenon, and they have tragic effects on

individuals, organizations, and communities, including law enforcement. Mass shootings create

public terror and have profound and long-lasting trauma and economic impacts on the affected

communities, including to the point where just seeing someone carry an assault weapon in public

can cause mass panic and fear in the community due to the exceptional risks that they pose.6

        23.    Mass shooting attacks are particularly terrifying because of the limited ability that

organizations, communities, and law enforcement have to counter them when they are conducted

with assault weapons and large-capacity magazines. While safety from gun violence has always

been a challenge in the United States, the use of assault weapons and large-capacity magazines is

a new and particularly dangerous problem because it is so difficult to mitigate. The use of assault


5
  I consider an assault weapon to encompass the weapons described in the definition of “assault
weapons” in the Highland Park Assault Weapons Ban. I most often think of an assault weapon as
an AR-15 and similar style weapons that have rapid-fire capability, are capable of firing rounds
at relatively high velocity, are lightweight and maneuverable, have low recoil, and have rifling
that allows for high velocity and a relatively high degree of accuracy at long range.
6
 Richard Fausset, A Heavily Armed Man Caused Panic at a Supermarket. But Did He Break the
Law?, New York Times (Jan. 5, 2023), available at
https://www.nytimes.com/2023/01/02/us/atlanta-gun-laws.html.

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weapons and large-capacity magazines dramatically and disproportionately increase killings and

injuries in mass-casualty events.7

           24.   From a public safety perspective, once an attack begins with an assault weapon, it

is already worst-case scenario. In attacks involving assault weapons, death and severe injury are

not avoidable but largely a matter of luck and fate.

I.         Assault Weapons And Large-Capacity Magazines Are Unusually Dangerous And
           Raise Uniquely Serious Public Safety Risks.

           25.   AR-15s are military-grade weapons designed to be used in war zones. In 1957,

the Army was looking for a lightweight, high-velocity rifle that could operate in semi- and fully

automatic modes. Armalite’s AR-15 was selected, and the Army was so impressed with the

killing potential of the AR-15 that it shipped 1,000 rifles to Vietnam for the South Vietnamese

troops and their American special-force trainers in 1961 to test during live combat in the

Vietnam War.8

           26.   The United States military assessed the AR-15 on the battlefield during “a

comprehensive field evaluation under combat conditions in Vietnam,” which is attached as

Exhibit B.9 According to a declassified field test report, the Vietnamese Unit Commandeers and




7
 “The Militarization of the US Civilian Firearms Market,” Violence Policy Center, June
2011, http://www.vpc.org/studies/militarization.pdf; Christopher S. Koper, Daniel J. Woods, and
Jeffrey A. Roth, “An Updated Assessment of the Federal Assault Weapons Ban: Impacts on Gun
Markets and Gun Violence, 1994–2003,” National Institute of Justice, US Department of Justice,
June 2004.
8
 Advanced Research Projects Agency, Office of the Secretary of Defense, Field Test Report,
AR-15 Armalite Rifle, at 2 (July 31, 1962), available at
https://apps.dtic.mil/sti/pdfs/AD0343778.pdf.
9
    Id. at 2.

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U.S. Advisors provided “extremely favorable” feedback on the AR-15,10 concluding that it was a

more effective combat weapon than any other weapon considered during the field evaluation.11

           27.   The details of the combat evaluation are harrowing, describing the killing

potential of the AR-15 in graphic detail. For example, the report describes a mission during

which a U.S. Ranger Platoon ambushed a Viet Cong Company. Five members of the Viet Cong

Company were killed. All of them suffered catastrophic injuries from the AR-15. One sustained

a “[b]ack wound, which caused the thoracic cavity to explode.”12 Another sustained a “[s]tomach

wound, which caused the abdominal cavity to explode.”13 A third sustained a “[b]uttock wound,

which destroyed all tissue of both buttocks.”14 The fourth sustained a “[c]hest wound,” which

“destroyed the thoracic cavity.”15 And the fifth sustained a “[h]eel wound,” whereby “the

projectile entered the bottom of the right foot causing the leg to split from the foot to the hip.”16

All of the deaths “were instantaneous except the buttock wound. He lived approximately five

minutes.”17

           28.   The report describes another lethal mission in which another combatant was

killed: “One round in the head – took it completely off. Another in the right arm, took it



10
     Id. at Annex A p. 4.
11
     Id. at cover memo.
12
     Id. at Annex A p. 5.
13
     Id.
14
     Id.
15
     Id.
16
     Id.
17
     Id.

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completely off, too. One round hit him in the right side, causing a hole about five inches in

diameter. It cannot be determined which round killed the [individual] but it can be assumed that

any one of the three would have caused death.”18

           29.   In another example, the report describes a firefight in which five combatants were

killed, and the unique killing power of the AR-15 was on full display: “Five [individuals] were

hit, all five with body wounds, and all five [were] killed. Four were probably killing wounds

with any weapon listed, but the fifth was essentially a flesh wound. The AR-15 made it a fatal

wound.”19

           30.   Yet another example describes the tremendous lethality of the weapon: “Two

[individuals] were killed by AR-15 fire. … One man was hit in the head; it looked like it

exploded. A second man was hit in the chest; his back was one big hole.”20

           31.   One evaluator concluded that the AR-15 was “ideal” for several reasons,

including its durability, accuracy, rapid rate of fire, its lightweight nature, and its “[e]xcellent

killing or stopping power.”21

           32.   The “phenomenal lethality” of the AR-15 described in the field report led the U.S.

Army in December 1963 to adopt the AR-15 – rebranding it the M16.

           33.   And it was the semi-automatic capabilities, not the automatic capabilities, that

made it such a valuable weapon for deadly combat. The Army’s own Field Manual states that




18
     Id.
19
     Id. at 7.
20
     Id.
21
     Id.

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semi-automatic fire is the “most important firing technique during fast-moving, modern combat,”

noting that “[i]t is surprising how devastatingly accurate rapid semi-automatic fire can be.”22

           34.   Indeed, according to one of its designers, the AR-15 was engineered to generate

“maximum wound effect.”23 The bullets it fires “travel nearly three times the speed of sound.”24

“As the bullet strikes the body, the payload of kinetic energy rips open a cavity inside the flesh—

essentially inert space—which collapses back on itself, destroying inelastic tissue, including

nerves, blood vessels and vital organs. ‘It’s a perfect killing machine,’ says Dr. Pete Rhee, a

leading trauma surgeon and retired captain with 24 years of active-duty service in the Navy.”25

Dr. Rhee describes the unique killing potential of the AR-15 this way: “‘A handgun [wound] is

simply a stabbing with a bullet. … It goes in like a nail.’ With the high-velocity rounds of the

AR-15, he adds, ‘it’s as if you shot somebody with a Coke can.’”26

           35.   The military origin of the AR-15 is featured heavily in its marketing to the

civilian public. In fact, when AR-15s were initially offered for sale to the U.S. civilian market,

they were branded as “assault weapons”27 and have been increasingly marketed as a tool for


22
  Tim Dickinson, “All-American Killer: How the AR-15 Became Mass Shooters’ Weapon of
Choice,” Rolling Stone (Feb. 22, 2018), available at https://www.rollingstone.com/politics
/politics-features/all-american-killer-how-the-ar-15-became-mass-shooters-weapon-of-choice-
107819/.
23
     Id.
24
     Id.
25
     Id.
26
     Id.
27
  In 1984, Guns & Ammo advertised a book called “Assault Firearms,” which it said was “full
of the hottest hardware available today.” “The popularly held idea that the term ‘assault weapon’
originated with antigun activists, media or politicians is wrong,” Mr. Peterson wrote. “The term
was first adopted by the manufacturers, wholesalers, importers, and dealers in the American


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personal image enhancement requiring little training.28 This is a direct appeal to those who wish

to be like the military and police, but without the training, command structure, safety,

responsibility, or ethics.29

        36.     While most estimates indicate assault weapons represent only about 5% of the

firearms in private possession in the United States,30 assault weapons have had a disproportionate

and highly negative effect on public safety over the past 20 years.

        37.     Targeted marketing by the firearms industry, firearms lobby, and assault weapon

manufacturers, as well as the dominant use of assault weapons by perpetrators of mass shootings,

have contributed to assault weapons, like the AR-15, becoming the weapon of choice in 85

percent of the shootings resulting in four or more victims.31 The largest firearm industry

association, the National Shooting Sports Foundation, refers to the most popular assault weapon




firearms industry to stimulate sales of certain firearms that did not have an appearance that was
familiar to many firearm owners. The manufacturers and gun writers of the day needed a catchy
name to identify this new type of gun.” https://www.nytimes.com/2013/01/17/us/even-defining-
assault-weapons-is-complicated.html?smid=nytcore-ios-share.
28
  Ryan Busse, “The Gun Industry Created a New Consumer. Now It’s Killing Us,” The Atlantic
(July 25, 2022), available at https://www.theatlantic.com/ideas/archive/2022/07/firearms-
industry-marketing-mass-shooter/670621/.
29
  See, e.g., Alia Shoaib, “A powerful rifle derived from US Army weaponry is going on sale to
civilians amid ongoing gun control debates, report says,” Business Insider (July 27, 2022),
available at https://www.businessinsider.com/gun-sold-to-civilians-sig-sauer-mcx-spear-2022-
7?utm_medium=social&utm_source=facebook.com&utm_campaign=sf-insider-
news&fbclid=IwAR3eRzoL8aizs-qRM3Ss9tJ1QJkEmd4mD-jjJCMZnqyEUBiSh7RkEA8wi30.
30
   The National Sport Shooting Foundation’s Firearm Production Report (Nov. 16, 2020),
https://www.nssf.org/articles/nssf-releases-most-recent-firearm-production-figures/.
31
  Charles DiMaggio et al., “Changes in US Mass Shooting Deaths Associated with the 1994–
2004 Federal Assault Weapons Ban: Analysis of Open–source Data,” Journal of Trauma and
Acute Care Surgery 86, no. 1 (2019): 11–19.

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used in mass shootings as “America’s rifle.” 32 But in reality, the firearms industry has chosen to

brand a weapon used by mass shooters as the rifle for America despite its limited ownership and

unusually dangerous nature.

          38.    Additionally, domestic terrorists, extremists and private militias with hate-related

ideologies are often attracted to and encouraged to acquire assault weapons based on assault

weapons’ unique characteristics as military-like weapons,33 further undermining public safety

and national security.34 For example, on August 12, 2017, several private militia groups—many

dressed in camouflage fatigues, tactical vests, helmets, and combat boots, and most bearing

assault rifles—arrived in Charlottesville, Virginia for the Unite the Right rally.35 Similarly, the




32
     https://www.nssf.org/msr/.
33
  Institute for Constitutional Advocacy and Protection, “Prohibiting Private Armies at Public
Rallies (3d ed. Sept. 2020), available at https://www.law.georgetown.edu/icap/wp-
content/uploads/sites/32/2018/04/Prohibiting-Private-Armies-at-Public-Rallies.pdf.
34
  In 2017 former Director of the National Counterterrorism Center, Nicholas Rasmussen,
warned, “We find ourselves in a more dangerous situation because our population of violent
extremists has no difficulty gaining access to weapons that are quite lethal.” Greg Miller, “Senior
counterterrorism official expresses concern about access in U.S. to lethal weaponry,”
Washington Post (Dec. 22, 2017), available at https://www.washingtonpost.com/world/national-
security/senior-counterterrorism-official-expresses-concern-about-access-in-us-to-lethal-
weaponry/2017/12/21/dad95cce-e664-11e7-833f-155031558ff4_story.html. And in 2021, FBI
Director Christopher Wray, testified that racially motivated violent extremism was “the biggest
chunk of our domestic terrorism portfolio” overall, with “militia violent extremists” trending.
Philip Bump, “FBI Director Wray reconfirms the threat posed by racist extremists,” Washington
Post (Mar. 2, 2021), available at https://www.washingtonpost.com/politics/2021/03/02/fbi-
director-wray-reconfirms-threat-posed-by-racist-extremists/.
35
  Institute for Constitutional Advocacy and Protection, “Prohibiting Private Armies at Public
Rallies (3d ed. Sept. 2020), available at https://www.law.georgetown.edu/icap/wp-
content/uploads/sites/32/2018/04/Prohibiting-Private-Armies-at-Public-Rallies.pdf.

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Oath Keepers brought a cache of weapons, including numerous AR-15s, to a hotel outside of

Washington, D.C. in anticipation for January 6, 2021.36

       39.     Many of the perpetrators of targeted violence seek to arm themselves with assault

weapons because of the unique package of characteristics that assault weapons offer. They are

easy to use with limited professionally supervised training, accept large-capacity magazines, are

effective at a distance, have little recoil, are light and maneuverable, shoot bullets at a high

velocity, and are marketed as military police-style weapons: they seek to look cool, intimidate,

and embrace the appeal of being a military or police “wanna-be.”37

       40.     One study estimates that an assailant with an assault rifle is able to kill and injure

twice the number of people compared to an assailant with a non-assault rifle or handgun.38

Large-capacity magazines, which increase the number of rounds a shooter is able to fire before

having to reload, only increase the lethality of such weapons. The use of assault weapons in




36
   Lindsay Whitehurst, “Witness Details Oath Keepers’ Cache of Weapons in Virginia Hotel
Room on Jan. 6,” NBC Philadelphia (Oct. 13, 2022), available at
https://www.nbcphiladelphia.com/news/national-international/oath-keepers-jury-told-of-
massive-weapons-cache-on-jan-6/3390250/.
37
   Attackers who espoused white-supremacist beliefs, like the man charged with killing 11
people at the Tree of Life synagogue in Pittsburgh in 2018 and another accused of killing more
than 20 people at a Walmart in El Paso in 2019, used semiautomatic firearms. See Richard A.
Oppel Jr., “Synagogue Suspect’s Guns Were All Purchased Legally, Inquiry Finds,” New York
Times (Oct. 30, 2018), available at https://www.nytimes.com/2018/10/30/us/ar15-gun-
pittsburgh-shooting.html; Jolie McCullough, “El Paso shooting suspect said he ordered his AK-
47 and ammo from overseas,” Texas Tribune (Aug. 28, 2019), available at
https://www.texastribune.org/2019/08/28/el-paso-shooting-gun-romania/.
38
  Elzerie de Jager, et al., “Lethality of Civilian Active Shooter Incidents With and Without
Semiautomatic Rifles in the United States,” JAMA 320, no. 10 (2018): 1034–1035.

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increasingly common mass shootings in the United States39 represents a significantly increased

public safety threat and a decreased ability to effectively stop and respond to attacks with assault

weapons without significant casualties and injuries.

II.    Assault Weapon Attacks Create An Unmitigable Public Safety Threat To Public
       Venues, Schools, And Law Enforcement.

       41.     Assault weapons present an unmitigable public safety threat for organizations,

communities, and law enforcement.40 Perpetrators of mass shooting attacks with assault weapons

do not need a high level of firearm proficiency, professional training, or practice to inflict mass

death and injury at close and longer ranges because they are able to fire rapidly with high-

capacity magazines and remain accurate at ranges well beyond 100 yards with little skill

development. The range of these weapons thus increases the perimeter that responders must

secure and the area in which potential victims are at risk. For officers that are preparing for an

event, that may mean having a multi-block radius cordoned off with security. And if a mass

shooting happens, that means having a large radius that officers need to secure.




39
  See, e.g., Gunfire on School Grounds Sees Sharp Increase: Number of shootings at k-12
schools and their victims in the U.S. (1980-2022), https://www.newsweek.com/us-gun-problem-
explain-5-graphs-shootings-1714250#slideshow/2054831.
40
   These design features create the ability to quickly lay down a high volume of fire, making
semiautomatic assault weapons a particularly dangerous addition to the civilian gun market. This
is why assault weapons are favored by terrorists, mass killers, and violent criminals, and they
distinguish such weapons from true hunting and target guns. Deliberate, aimed fire from the
shoulder may be more accurate than the spray-firing for which assault weapons were designed.
But mass murderers and other violent criminals drawn to assault weapons are not after
marksmanship medals. They want to kill or maim as many people as possible in as short a time
as possible—the exact job for which the semiautomatic assault weapon was designed. See “Key
Points About Assault Weapons,” Violence Policy Center, https://vpc.org/wp-
content/uploads/2018/06/Assault-weapon-primer-2017-VPC.pdf; Greg Myre, “A Brief History
of the AR-15,” NPR (Feb. 28, 2018), available at https://www.npr.org/2018/02/28/588861820/a-
brief-history-of-the-ar-15.

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       42.     An assault weapon, in effect, transforms terrorists, criminals, deranged people, or

disconnected teens with poor coping skills and intent to kill into killing machines. Very little

preparation, training, or skill acquisition under qualified instruction is required. This significantly

limits pre-incident intervention opportunities that could happen during a training and preparation

phase of an attack. For example, the Robb Elementary School shooting perpetrator in Uvalde,

Texas bought two AR-15 weapons less than a week before he committed a mass shooting.41

Without any training, and after owning the weapon only one week, he fatally shot 19 students

and 2 teachers, and wounded 17 others—and he did this even though law enforcement officers

arrived on the scene with their own high-powered weapons within a short period of time.

       43.     Though all mass violence is devastating to communities and first responders,

mass shooting attacks with assault weapons are particularly physically and emotionally

traumatic.42 Victims shot in an assault weapon attack are often killed and, if they survive,

typically suffer serious and frequently complex wounds that require surgical intervention, long

recovery periods, and difficult-to-manage rehabilitative care.

       44.     In addition, mass shootings often cause long-lasting traumatic impacts on

survivors within a larger vicinity.43 The trauma is frequently amplified for children who witness



41
   Reese Oxner, “Uvalde gunman legally bought AR rifles days before shooting, law
enforcement says,” Texas Tribune (May 25, 2022), available at
https://www.texastribune.org/2022/05/25/uvalde-shooter-bought-gun-legally/.
42
   Emma Bowman & Ayana Archie, “This is how handguns and assault weapons affect the
human body,” NPR (June 6, 2022), available at
https://www.npr.org/2022/06/06/1103177032/gun-violence-mass-shootings-assault-weapons-
victims.
43
  Heather Littleton, Mandy Kumpula, & Holly Orcutt, “Posttraumatic symptoms following a
campus shooting: The role of psychosocial resource loss,” Violence Vict. 26(4), 461–76 (2011),
available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3896233/.

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or are wounded in mass shootings, impacting children’s mental health, education, and potential

earnings in the future.44

       45.     Mass shootings also can have tremendous negative economic effects on

communities affected by them, including lower levels of the targeted communities’ employment

and earnings, decreased housing prices, and decreased consumer confidence.45

       46.     In response to increased mass shootings at schools, workplaces, and public

venues, mitigating the threat of an active shooter incident is the top priority for law enforcement

and crisis planning and response professionals. The general public and particularly large public

venue events, schools, and workplaces are at greater risk today due to the limits of reasonable

and practical law enforcement and crisis planning efforts to mitigate the threat of an individual or

group using assault weapons to attack.

       47.     The threat of assault weapons attacks now requires crisis planning for large public

and private venue sites to conduct significant pre-event planning, including the clearing and

securing of large areas and rooftops, constant monitoring by drones and video cameras, a

command center, pre-event and constant intelligence gathering, barricading of roadways with

large industrial trucks, and significant and constant law enforcement presence. Based on my

experience, these situations require large-scale planning and staged first-responder resources,

contingency plans, extended crisis-site perimeters, immediate presence of tactically trained

SWAT teams with special weapons and ceramic and metal-plated body armor gear, tactical


44
   Maya Rossin-Slater, Surviving a school shooting: Impacts on the mental health, education,
and earnings of American youth, Stanford Institute for Economic Policy Research (June 2022),
https://siepr.stanford.edu/publications/health/surviving-school-shooting-impacts-mental-health-
education-and-earnings-american
45
  Abel Brodeur & Hasin Yousaf, “The Economics of Mass Shootings,” IZA Institute of Labor
Economics (Oct. 2019), available at https://docs.iza.org/dp12728.pdf.

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shields, and armored vehicles. These elements and tactics take time to deploy and significant

resources few departments can provide on their own.

       48.     Not only do most municipal police departments lack the financial and human

resources to employ these protective event management functions, the use of more cost-effective

measures, such as pre-emptive drone use, is prohibited by many privacy laws. When there is a

mass-casualty event, often police departments come together in the response, but a coordinated

response is not possible ex ante at large events because each police department has its own town

to protect and serve.

       49.     In addition, these kinds of emergency-response plans rely heavily on an officer’s

mindset to run at gunfire after it has begun, placing law enforcement officers and others at

greater risk during attacks with assault weapons than during attacks without assault weapons.

While our police officers are heroes day in and day out, these plans ask officers to run into active

situations without adequate protection from assault weapons. Most standard-issue ballistic vests

are not rifle-rated and therefore do not protect the body against bullets fired by assault rifles.

Officers can, in theory, add ceramic or metal plates to their vests, or don body armor, to better

protect themselves, but that extra gear takes time to put on and then limits the movement of the

responding officers, which creates its own safety risks. And even then, many assault weapons are

able to fire rounds that pierce even ceramic and metal-plated vests and body armor.

       50.     For civilians, the widely endorsed active shooter “run, hide, and fight” response

has limitations based on the crisis environment, the mindset of situational leaders, the age and

capacity of those participating, and the attackers’ preparation, surprise, and position, and it still

results in death and injury even with training and practice. The limitations are amplified when

officers and civilians are being actively shot at. Assault weapons and large-capacity magazines



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allow shooters to shoot uninterrupted for longer periods, and get more shots off with fewer

reloads, thus amplifying the problem.

       51.     In my experience, all crises are dynamic, chaotic, stressful, and confusing, even

with preparation and training. Mistakes will happen. The impact of mistakes in assault weapon-

involved shooting attacks is made worse by the increased capacity, power, and range of assault

weapons.

III.   Assault Weapons Pose An Especially Significant Risk To Law Enforcement And
       Complicate Law Enforcement Responses To Public Shootings.

       52.     Assault weapons pose a disproportionate risk to law enforcement. One out of five

law enforcement officers slain in the line of duty in 2016 and 2017 (the most recent years for

which information is available) were killed with an assault weapon. In 2016 and 2017, 109 U.S.

law enforcement officers were slain in the line of duty. Of these, 25 (23 percent) were killed with

an assault weapon. In six of these 25 deaths, a bullet penetrated the officer’s body armor.46

       53.     Law enforcement response, armed security, and concerned citizen response have

proven to be slow for the few minutes that assault weapon attacks transpire and have low

effectiveness in preventing death and injury in confrontations involving assault weapons. FBI

long-trend reports from 2000-2019 determined that 119 of 345 active shooters incidents ended

with the attacker committing suicide, 119 were apprehended by police after shooting people and


46
   K. Rand et al., “Cop Killers: Assault Weapon Attacks on America’s Police,” U.S. Department
of Justice, Office of Justice Programs (1995), available at https://www.ojp.gov/ncjrs/virtual-
library/abstracts/cop-killers-assault-weapon-attacks-americas-police. Information for the VPC
analysis was obtained from the FBI under the Freedom of Information Act (FOIA) along with
data published by the FBI’s Law Enforcement Officers Killed & Assaulted Program for 2016
and 2017. Source: Unpublished FBI data, Law Enforcement Officers Feloniously Killed in the
Line of Duty During 2016 and 2017, Type of Weapon, the most recent years for which
information is available, excludes Puerto Rico; Bullets from assault rifles penetrated officers’
protective body armor in incidents in California, Texas, Missouri, and New York, FBI 2016 and
2017 Law Enforcement Officers Killed & Assaulted reports.

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law enforcement, 67 were killed by law enforcement after people and law enforcement were

shot, and five perpetrators escaped. In only four cases did citizens kill the shooters, again after

others were shot.47 Attacks with assault weapons frequently result in death and injury even with

on-duty and off-duty law enforcement, armed security, and lawfully armed citizens present or in

immediate vicinity or response.48

       54.     Traditional law enforcement tactics are proving inadequate to mitigate the threat

posed by assault weapons in criminal hands and even in the hands of people not previously

convicted of violent crimes. Law enforcement serving court-authorized warrants have been

ambushed with assault weapons. In 2021, two FBI Agents were killed, and three others were

injured, when fired on through a doorway by a subject with an assault weapon. The attack ended

with a SWAT truck ramming the subject’s dwelling and driving into staircase railings to counter

the assault weapon’s firepower.49 This individual did not have a prior violent criminal record, but

assault weapons put the civilian on an equal, and sometimes greater, footing with law

enforcement. So the law enforcement response to assault-weapon-involved attacks must escalate,

requiring highly aggressive officer responses, including specialized weapons, the surging of

personnel, increased perimeters, and the mindset to undertake the force of violent action. These

incidents increasingly require tactics such as charging structures with armored vehicles, the use


47
  U.S. Department of Justice, FBI, Active Shooter Incidents, 20-Year Review 2000-2019,
available at https://www.fbi.gov/file-repository/active-shooter-incidents-20-year-review-2000-
2019-060121.pdf/view.
48
   See, e.g., Larry Buchanan and Lauren Leatherby, “Who Stops a ‘Bad Guy With a Gun?’,” New
York Times (June 22, 2022), available at
https://www.nytimes.com/interactive/2022/06/22/us/shootings-police-response-uvalde-
buffalo.html.
49
   Patricia Mazzei et al., “2 F.B.I. Agents Killed in Shooting in Florida,” New York Times (Feb.
2, 2021); available at https://www.nytimes.com/2021/02/02/us/fbi-shooting-sunrise-florida.html.

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of explosives, robots, and drones with explosives. Such a response takes more time, resources,

and coordination, but in active-shooter situations, officers have very little time to respond.

         55.    Law enforcement and other persons attempting to defend themselves or others

from assault-weapon-involved attacks require significant skills, training, practice, and

coordinated movement and action to defend against and eliminate the active threat of a shooter,

particularly if the perpetrator is well-positioned behind protective cover, preventing a direct line

of fire from defenders. Assault weapons, even in completely untrained hands, can easily kill a

large number of people with little or no preparation. The so-called “good guy with a gun”

requires significant training and expertise to effectively confront an attacker and still rarely has

the opportunity to respond under the surprise circumstances. For example, in the Highland Park

shooting, the perpetrator was able to shoot more than 80 rounds in a matter of minutes and

escape before law enforcement or anyone else on the scene was able to locate him.50

         56.    Indeed, the armed citizen narrative promoted by the firearms industry is

inaccurate in the face of an AR-15, as illustrated by the fact that the perpetrator of the 2017 Las

Vegas Concert attack was able to shoot for ten minutes uninterrupted even though 200 law

enforcement officers were in the immediate vicinity.51 As the 2017 Las Vegas concert attack

demonstrates, a well-placed attacker with an assault weapon is devastatingly effective and

decreases the opportunity for effective law enforcement response. Such scenarios limit escape

and protective cover for civilians and law enforcement, and require extraordinary law




50
  Associated Press, “The Highland Park shooting suspect is indicted on 117 charges,” NPR (July
28, 2022), available at https://www.npr.org/2022/07/28/1114207587/the-highland-park-shooting-
suspect-is-indicted-on-117-charges.
51
     https://www.nytimes.com/2017/10/02/us/las-vegas-shooting.html.

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enforcement response measures, including training, equipment, additional personnel, an

aggressive mindset, and luck.

       57.     Based on my experience, law enforcement officers are increasingly aware of the

higher rate of deaths and injuries of officers due to assault weapons, which contributes to

increased stress and, in turn, undermines officer mental health, recruitment, retention,

performance, and general well-being of officers. Many are aware that assault weapons are being

used to target and kill law enforcement.52 Law enforcement officers are also increasingly aware

of the fact that not all body armor provides adequate protection in a shoot-out.53 The soft body

armor most commonly worn by American law enforcement, Level IIA, Level II, and Level IIIA,

are no match for .223 and 5.56 rounds, which are the rounds typically used by an AR-15 style

weapon. When law enforcement officers fear they are out-gunned by active shooters who may or

may not have assault weapons, they are less likely to respond to the incident decisively and their

response may be delayed or otherwise suboptimal, as it was in the tragic case of the Robb

Elementary School shooting in Uvalde, Texas.54




52
   “Dallas Police Shooting: 6 Things to Know Now,” The Trace (July 8, 2016), available at
https://www.thetrace.org/2016/07/dallas-police-shooting-5-things-to-know-now/.
53
   For example, anything that fires .223 (AK) or 7.62 (AR) caliber rounds defeats traditional
patrol Level II body armor. The gun industry produces AK and AR pistols that do the same
thing. These cut-down models do not have the barrel length to fire a round at around 3000fps like
a rifle, but at 1200-1500fps they fire at a speed that exceeds traditional pistol rounds that are
typically well below 1000fps.
54
   Timothy Bella, “Police slow to engage with gunman because ‘they could’ve been shot,’
official says,” Washington Post (May 27, 2022), available at
https://www.washingtonpost.com/nation/2022/05/27/uvalde-shooting-police-gunman-shot-
olivarez/.

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IV.    Bans On Assault Weapons Do Not Interfere With Responsible, Law-Abiding
       Citizens’ Ability To Defend Themselves.

       58.     Based on my experience as a federal agent, a public safety professional, and my

longtime familiarity with the local community and environment as a nearby resident, the

Highland Park Assault Weapons Ban does not interfere with law-abiding citizens’ ability to

defend themselves.

       59.     There are other more suitable firearm choices for personal defense in the most

likely but still rare circumstances when armed self-defense is justified. Though specific data is

lacking, in my experience, most confrontations involving gunfire are at close range. In fact, most

law enforcement agencies design their firearm training qualification course shooting protocols to

emphasize close-quarter shootings between the range of 3-10 yards. Similarly, Illinois’ Conceal

Carry Weapon qualification course requires 30 rounds to be fired at shooting intervals of 10

rounds at the 5-yard line, 10 at the 7-yard line, and 10 at the 10-yard line, recognizing that most

armed defense takes place within 3-7 yards.

       60.     As with on-scene and immediately responding law enforcement, legally armed

civilians and private security have had limited impact in stopping assault weapon attacks. Armed

citizens are taken by surprise, outgunned, and outmaneuvered by an attacker already killing and

injuring others, and are rarely able to effectively defend against an active attack.

       61.     Firearms can be an effective tool for self-defense, both for law enforcement and

civilian use.55 But the best insights indicate that shotguns and 9mm pistols are generally



55
   Effective self-defense relies more heavily on factors related to understanding the law and
environment, discipline, training, state of mind, knowledge, skills, practice with a particular
firearm, vigilance, situational awareness, time, access, opportunity, size and location of the
dwelling, understanding implications of over-penetration risk, bystanders’ location and skills,
protective cover, and luck than access to an assault weapon.

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recognized as the most suitable and effective choices for armed defense, which are legal under

the Highland Park ordinance.




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                                                                                                                        Education
Experience
                                                                                                                        DePaul University
PAX Group, LLC - Principal                                                                                              College of Law
2018 – Present                                                                                                          1995 - J.D.
Over 30 years of professional expertise in building teams, strategies, and cultures that navigate complex
and dynamic relationships, projects, and environments. Providing consulting, training and development,
investigation management, facilitation, and subject matter expertise in crisis and conflict management,                 University of Illinois
public safety, violence prevention, and high-trust team and relationship development and resilience.                    1990 - B.A. History &
Regular media contributor and keynote presenter.                                                                        Political Science
Northwestern University Center for Public Safety - Adjunct Instructor                                                   Subject Matter
2022 - Present
Adjunct Instructor - Northwestern University Executive Education - Center for Public Safety. Navigating crisis and      Expert
conflict in law enforcement; Policing with Compassion: strengthening trust, well-being, performance and resilience in
                                                                                                                        •   Violence Prevention and
officers, agencies, and community relationships. Crisis negotiation and critical incident response.                         Safety

DePaul University - Adjunct Instructor                                                                                  •   Crisis Planning, Response,
                                                                                                                            and Communication
2015 - Present
Instruction graduate level MBA Negotiation, Business Intelligence, Leadership and Ethics courses at DePaul              •   Gun Violence, Workplace
University’s Department of Management & Entrepreneurship.                                                                   Violence, School Violence,
                                                                                                                            Community Violence
Archdiocese of Chicago - Director of Violence Prevention                                                                •   Law Enforcement, FBI,
2018 – 2020                                                                                                                 Crime, Police Reform,
Led one of the largest Archdioceses and private school systems in the nation's violence prevention                          School Resource Officers,
mission and safety initiatives. Responsible for all aspects of safety, programs, and collaborative                          Police Abuse, Complex
partnerships across the spectrum of social services addressing all aspects of violence prevention and                       Investigation, Government
agency response. Provided counsel to the Archbishop on matters related to safety and violence. Led a                        Fraud
coalition of inter-religious communities in advocacy and awareness for violence prevention.
                                                                                                                        •   Counterterrorism,
Federal Bureau of Investigation - Special Agent                                                                             Counterintelligence,
                                                                                                                            National Security
1997 - 2018: Chicago, Illinois; New York, New York; Topeka, Kansas
                                                                                                                        •   International, Corporate
FBI Chicago Division, 2011 – 2018                                                                                           and Political Espionage
Focus areas: Intelligence, Public Corruption, Gun Violence, Financial Fraud, Counterterrorism,
                                                                                                                        •   Spying Insider Threats
Counterintelligence and Crisis Management, Behavior Analysis, and Covert Operations. Key roles and
responsibilities include:                                                                                               •   Threat Analysis, social
                                                                                                                            media Threat and Violence,
     Human Intelligence Branch                                                                                              Stalking, Behavior Analysis
     Responsible for identifying and creatively fulfilling intelligence requirements through liaison and overt and      •   Hostage Taking &
     covert techniques. Function as an internal consultant managing special projects, establishing best                     International
     practices, and developing and maintaining strategic relationships. Train and mentor team members and                   Kidnapping
     manage complex investigations.                                                                                     •   Business Negotiation and
     Crisis Negotiation Team Leader                                                                                         Crisis Communication
     Provide day-to-day leadership and management of hostage negotiations.                                              •   Background Checks,
                                                                                                                            Travel and Personal Safety,
                                                                                                                            Corporate Security
Phil Andrew: Leader
               Case:in Crisis
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        Joint Terrorism Task Force                                                                                   Service &
        Managed and directed FBI Joint Terrorism Task Force Investigations. Led, trained , and mentored a team of    Leadership
        special agents, TFOs, and analysts in criminal and national security investigations, resulting in critical
        intelligence, disruptions, and arrests.
                                                                                                                     Schranner Negotiation
                                                                                                                     Institute, Zurich, Switzerland
        Adjunct Instructor and Presenter                                                                             – Expert 2022 - Present
        Designed and presented training and instruction in negotiation, crisis negotiation, management, terrorism,
        interviewing, interrogation, major case management, and violent and sex crime investigations for the FBI     Center for National Security
        Academy and numerous other law enforcement organizations.                                                    & Human Rights Law
                                                                                                                     Chicago-Kent College of Law,
    FBI New York Office, 2003 – 2011                                                                                 Illinois Institute of
    Focus areas: National Security, Crisis Management, and Rapid Deployment Team. Key roles    and                   Technology Chicago-Kent
    responsibilities include:
                                                                                                                     College of Law, Illinois
        Covert Operations and Project Manager                                                                        Institute of Technology -
        Managed and directed FBI covert operations. Functioned as an internal consultant providing subject           Advisory Director.
        matter and operational expertise in national security cases. Coordinated with U.S. Intelligence community    2022 - Present
        stakeholders, including CIA, DHS, Commerce, and DOS. Selected, led, and mentored a team of special
        agents and analysts for customized operations, providing critical and actionable information for the         Ouilmette Foundation for
        intelligence community and policymakers. Consistently recognized and awarded for creative and                the Parks - Board Member
        substantive contributions and best practices.
                                                                                                                     2015 - 2019
        Crisis Negotiation Team Coordinator
        Trained hundreds of LEOs nationwide and internationally. Day-to-day leadership and management of an
                                                                                                                     Illinois Governor JB Pritzker
        enhanced team of hostage negotiators, developed SOPs, and served as a primary negotiator in                  – Public Safety Transition
        numerous international kidnappings.                                                                          Committee
                                                                                                                     2019
        Instructor and Presenter
        Designed and presented training for the FBI Academy, John Jay College, New York City Police Department,      City of Chicago Violence
        West African Police, and numerous other international law enforcement organizations in crisis                Reduction Working Group
        negotiation and trained hundreds of local and state law enforcement officers in crisis response, critical
                                                                                                                     2018-2020
        incident management, active listening, and negotiation. Keynote speaker at numerous national and
        international Crisis and Hostage Negotiator Conferences.
                                                                                                                     Chicago Mayor Lori Lightfoot
    FBI Kansas City Division, Topeka Resident Agency, 1997 – 2003                                                    – Public Safety Transition
    Roles and responsibilities included:                                                                             Committee
        Case Agent                                                                                                   2019
        Conducted investigations of federal crimes, counterterrorism, and counterintelligence. Led a broad range
        of successful investigations from initial response to conviction, including evidence collection, lead        Headquarters Counseling,
        coverage, interviews, and interrogations. Developed exceptional liaison relationships with multiple          Lawrence, KS - Board Vice
        agencies fostering a cohesive team approach to investigations. Specific expertise in bank robberies,         President
        economic espionage, computer intrusions, and violent crimes, including child abductions and drug and         2000-2003
        gun crimes.
                                                                                                                     Center for Conflict
        Relief Supervisor                                                                                             Resolution, Chicago, Illinois
        Mentored and trained new agents and established effective liaison with mission partners. Responsible         -Mediator
        for all aspects of the squad’s operational activity, including briefing senior management, approving
        investigative reports, fulfilling procedural and legal requirements, and internal and external
        communication.
Phil Andrew: Leader
               Case:in Crisis
                Case:         Management, Public
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        Program Development and Case Management                                                                      Service &
        Received FBI Merit Awards for the proactive development and management of a complex multi-agency
        undercover investigation requiring extensive coordination with Division heads and the FBI, CIA, and DHS
                                                                                                                     Leadership
        representatives. The program was recognized as a national model of successful interagency                    (Continued)
        cooperation.
                                                                                                                     Illinois Council Against
        Joint Terrorism Task Force (Topeka, KS)                                                                      Handgun Violence - Board
        Responsible for developing and directing regional JTTF. Selected, managed, and trained task force            Chairperson
        officers in terrorism and national security investigations. Established and maintained extensive liaison     1995 - 1997
        with local, state, and federal law enforcement and intelligence counterparts. Interfaced effectively with
        a wide network of corporate, community, and religious leaders - developing a comprehensive                   Chicago Bar Association -
        knowledge base and threat matrix analysis.                                                                   Criminal Law and
                                                                                                                     Legislation Committees
        Assistant Legal Attaché, FBI Legat (Cairo, Egypt)                                                            1996-1997
        Responsible for developing and directing regional JTTF. Selected, managed, and supported high-priority
        criminal and major terrorism investigations, briefed senior Egyptian law enforcement and U.S. Embassy        Loyola Academy, Wilmette,
        personnel on fast-developing investigations, and coordinated investigative efforts with foreign law          Illinois - Case Statement
        enforcement and FBIHQ.                                                                                       Committee
                                                                                                                     1993
        Supervisory Special Agent
        National Infrastructure Protection Center, FBIHQ. Coordinated the investigation of and developed             Illinois Firearm Transfer
        comprehensive guidelines for national and international computer intrusion investigations. Prepared briefs   Identification - Governor’s
        for the FBI Director on major Cyber case developments. Presented to DOJ a complex computer fraud             Blue-Ribbon Committee
        and Economic Espionage Act case for prosecution.                                                             1992 - 1994
    Chicago Housing Authority – Assistant General Counsel                                                            Honors
    1995-1997
                                                                                                                     Heart of Charity Award
        Litigation and Counsel                                                                                       Catholic Charities
        Served as general and litigation counsel for one of the largest public housing entities in the country.      U.S. House of
        Provided counsel in commercial and real estate transactions. Drafted and executed contracts and
                                                                                                                     Representatives Award
        corporate fillings. Represented the CHA in numerous tort and eviction cases. Managed high-volume
        caseload and tried bench and jury trials.                                                                    for Outstanding Courage &
        Researched, drafted, and argued motions before the court. Conducted numerous arbitrations, mediations,       Heroism
        and depositions.
                                                                                                                     Illinois State Bar
        Program Development                                                                                          Association Service
        Developed and implemented an innovative training program for CHA police and housing development              Award
        managers to implement standardized procedures in violence reduction strategies and for-cause eviction
        processes for drug, weapons, and violence cases.                                                             Numerous FBI Service,
                                                                                                                     Achievement, and Merit
    One Aim (formerly Illinois Council Against Handgun Violence, Inc.) -                                             Awards & CIA Outstanding
    Executive Director                                                                                               Service Award
    1992-1995
                                                                                                                     NCAA Valor Award
        Executive Management                                                                                         Nominee
        Responsible for overall leadership and management of the nonprofit. Reported to and advised the Board
        of Directors. Developed and directed all programs, fundraising, budget, public relations, and strategic      Captain of University of
        planning and managed staff and volunteers.                                                                   Illinois Swim Team &
        Oversaw expansion of public education programs, with funding, publicity and membership increased             George Huff Athletic/
        by a factor of 10. Successfully presented dozens of funding proposals to corporate and community             Academic Award
        foundations, including the Joyce Foundation and The Chicago Community Trust.
                                                                                                                     Loyola Academy Athletic
                                                                                                                     Hall of Fame
Phil Andrew: Leader
               Case:in Crisis
                Case:         Management, Public
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        Public Policy and Public Relations                                                                          Contact
        Developed a complete public education and legislative strategy, including the drafting of legislation.
                                                                                                                      www.paxgroupllc.com
        Regularly provided testimony, addressing community and religious organizations, including the Illinois
        Senate, U.S. Congressional Hearing on Violence
        in America, and the National Safety Council. Served as a Panel Expert, ABC’s Good Morning America,
        Round Table Discussion of Parental Liability. Extensive debate, live television, and radio interview
        experience, including Oprah , Donahue , and Frontline . Recognized for innovative litigation strategy
        directed at curbing firearm violence.

        Community Outreach and Coalition Building
        Developed and coordinated grassroots lobbying initiatives and oversaw broad-based regional
        coalition-building projects. Efforts focused on public awareness and implementing evidence-based
        violence reduction strategies, securing over 100 professional and community member organizations.




    Training & Speaking Engagements
    Adjunct Instructor and Presenter
    Design and present training and instruction in leadership, mentorship, communication and group/team dynamics,
    risk management, strategy formulation, adaptation, resilience, crisis negotiation, terrorism, interviewing,
    interrogation, major case management, violence, and sex crimes for organizations, including:

         •    FBI Academy and FBI National Academy
         •    Federal Executive Board – Great Lakes region and GSA
         •    Google
         •    Advocate Health Care
         •    Catholic Charities Chicago
         •    Family Action Network
         •    United States Conference of Catholic Bishops
         •    University of Notre Dame, ESTEEM
         •    University of Chicago Booth School of Business & School of Psychology
         •    Chicago School of Professional Psychology
         •    NYPD, CPD, Portland PD, Canadian Royal Mounted Police, Calgary PD, NJSP
         •    Middle East Law Enforcement Training Academy
         •    Cleveland Airport Authority
         •    US Coast Guard
         •    FBI InfraGuard
         •    Chief Financial Officers Association
         •    Keynote: CA, NY, New England, FL, Western States, WI, MI, OH, KS, MO, IN
              Crisis/Hostage Negotiator Conferences
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                                             ADVANCED RESEARCH PROJECTS AGENCY
                                                     Washington 25, D. C.


                                                                             20 August 1962


                 To:             Addressees
                 From:           OSD/ARPA

             I   Subject:
            f Enclosure:
                                 Field Test Report, AR-15 Armalite Rifle
                                 Final Report, OSD/ARPA Research and Development IJ ijf
            1                    Unit - Vietnam
                                        UU
                                  iSI




                        1. The AR-15 Armalite rifle has been subjected to a comprehensive
                 field evaluation under combat conditions in Vietnam. The results of this
                 evaluation, contained in the attached report, are forwarded for your informa-
                 tion.

     C/)               2. Because of the controversy which has surrounded this weapon,
                 particular care was exercised to insure that the tests were
                                                                             objective,
                 thorough and adequately documented, and to insure that valid data and
                 conclusions were derived therefrom.

                   3. The suitability of the AR-15 as the basic shoulder weapon for the
             Vietnamese has been established. For the type of conflict now occurring in
             Vietnam, the weapon was also found by its users and by MAAG advisors to be
             superior in virtually all respects to the - a. M-1 rifle, b. M-I and M-2
            SCarbines, c. Thompson Sub-machine gun and d. Browning Automatic rifle.

                        4. Test data derived from recent Service evaluations of the AR-15
           Sin      the U.S. support the technical conclusions of the report. The Central
                 Intelligency Agency has conducted similar tests; it is understood that the
                 resulfof that evaluation are essentially identical to those contained in the
                 report.
                         5.   Photographs 7 and 8, Appendix D, pictures of Viet Cong KIA show-
                 ing the wound effect of the AR-15 bullet, were deleted from the attached report
                 by this office.

                       6. The conclusions and recommendations of this report have been made
                 available to COMUSMACV and CINCPAC by the origina r and to       Dyd
                 SCIA by OSD/ARPA.
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                 intervals; Declassified    CO N F I DENT I AL              Asst Director, for'AOILE
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                              RESEARCH & DEVELOPMENT FIELD UNIT
                                 Advanced Research Projects Agency
                                  Office of the Secretary of Defense
                                 APO 143, San Francisco, California



        MACRD                                                                       31 July 1962

        SUBJECT: Report of Task No. 13A, Test of Armalite Rifle, AR-15 (U)



        THRU.      Commander (3)
                   U, S. Military Assistance Command, Vietnam
                   APO 143, San Francisco, California



        TO:        Commander in Chief, U. S. Pacific (3)
                   c/o Fleet Post Office
                   San Francisco, California

                    Advanced Research Projects Agency (3)
                    Office of the Secretary of Defense
                    The Pentagon
                    Washington 25, D. C.



                1. (C) Forward herewith is the final report of the test of the Armalite Rifle
        (AR-15). It should be noted that the report proper in its present form reflects the
        views of the U. S element of CDTC only. It is being handled in this fashion to avoid
        the inference that the Vietnamese, in seeking a newer weapon, might have influenced
        the recommendations in the report.

                 2. (C) However, combat evaluations in Vietnam are necessarily joint ven-
        tures and the results'must be made known to appropriate GVN authorities. This
         report will now be coordinated with the Vietnamese element in CDTC ad will be
        officially closed out as a combined report. It is thought that this is unlikely to




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     result in any substantive change in the report as now written.




     I Inc1.                                                WILLIAM P BROOKS, JR.
       AR-15 Report w/S Annexes                             Colonel, Arty
                                                            Chief
     Copies furnished.
       CHMAAG. VIETNAM (4)




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                            Advanced Research Projects Agency
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                                   REPORT OF TASK NO.    13A

                                             TEST OF

                                  ARMALITE RIFLE. AR-15 (U)




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                                   REPORT OF TASK NO 13A
                                          TEST OF
                                  ARMALITE RIFLE, AR-15 (U)


            I.   (U)   REFERENCES.

                 a.    (U)   OSD Message, DEF 907037, DTG 122354Z December 1961.

                 b.    (U)   MACRD Message 367, DTG 050203Z June 1962.

                 c. (U) US Army Infantry Board Report of Project 2787, 27 May
            1958, Subject: Evaluation of Small Caliber, High Velocity Rifle - Armalite
            (AR-15).

                 d.  (U) Final Report, Lightweight High Velocity Rifle Experiment,
            US Army Combat Development Experimentation Center, Fort Ord, Califor-
            nia, dtd 30 May 1959.

                 e.  (U) Evaluation Report of the Colt Armalite AR-15 Automatic
            Rifle, US Air Force Marksmanship School, Lackland AFB, Texas, dtd
            22 September 1960.

                f.  (U) Report No. DPS-96, A Test of Rifle, Caliber .223, AR-15,
            Aberdeen Proving Ground, Maryland, dtd 9 January 1961.

                g.   (U) Fourth Report on the Test of the US Carbine, Cal.. 30,
            MI, ORD Program #4972, Aberdeen Proving Ground, Maryland, dtd 13
            Aug 1942.

                 h. (U) First Report on Test of Production Models of the Carbine,
            Cal .30, MZ. ORD Program #4972. Aberdeen Proving Ground, dtd 1 Aug
            1945.

                i.  (U) US Army Infantry Board Supplemental Report of Project
            No 2787, "Evaluation of Small Caliber, High Velocity Rifles - Armalite
            (AR-15)", dtd 13 August 1958.

            2.   (C) PURPOSE.

                The purpose of this test was to determine if the AR-I5 Rifle is
            compatible with the small stature, body configuration and light weight of
            the Vietnamese Soldier and to evaluate the weapon under actual combat



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            conditions in South Vietnam. At the request of MAAG, Vietnam, the scope
            of the test was expanded to include a comparison between the AR-IS and
            the M2 Carbine to determine which is a more suitable replacement for other
             shoulder weapons in selected units of the Republic of Vietnam Armed Forces
            (RVNAF).

                3.   (U) DESCRIPTION OF MATERIEL:

                      The AR-15 Rifle is a lightweight, gas-operated rifle equipped with
            a 20-round, detachable magasine. It is chambered for Cartridge, Caliber
             . 223. When fired in the rifle, this round gives the 55 grain bullet a musle
            velocity of 3200 feet per second. It has a plastic stock with a rubber butt,
            assembled in line with the bore. This, in conjunction with its high line of
             sight and separate hand grip, is designed to minimise rotation about the
            shoulder during firing. The two piece upper hand guard is made of metal
            and plastic and is designed for easy disassembly and rapid dissipation of
            heat. A lever above the grip on the left side of the receiver provides a
            selector for the trigger safety, semi-automatic and automatic fire. A
            bolt catch holds the bolt to the rear after the last round has been fired. A
            cover is provided for the ejection port in the receiver. A three-pronged
            musle attachment, threaded to the barrel, serves as a flash suppressor,
            grenade launcher, and a front support for a bayonet. The lower part of
            the front sight is machined to form a bayonet lug. Standard accessories
            include: Bayonet w/scabbard; bipod w/case; grenade-launching sight; and
            a cleaning rod. Photographs of the weapon appear in Annex "D".

                4.   (C) BACKGROUND.

                     a. (U) The problem of selecting the most suitable basic weapon
            for the Vietnamese soldier is complicated by his small stature and light
            weight. The average soldier stands five feet tall and weighs ninety pounds.
            Principle US weapons presently issued to Vietnamese troops include the
            M1918AZ; the Thompson Sub-Machine Gun, Caliber . 45; and the US Car-
            bine, Caliber .30, MI.

                      b. (U) Because of its availability and the results of extensive
            studies and previous testing by military agencies, the Colt Armalite AR-15
            Rifle was selected in July 1961 as the most suitable weapon for initial tests.
            This weapon was developed by the Armalite Division of Fairchild Aircraft
            Corporation to meet the military characteristics for a lightweight rifle
            utilising the high velocity small caliber principle. It was first tested by
            the US Army Infantry Board in 19S6 (Ref 1. c.). Since then, the weapon




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             and its ammunition have undergone extensive engineering and service tests
             by: Aberdeen Proving Ground; the Combat Development Experimentation
             Center, Fort Ord, California; and the US Air Force at Lackland Air Force
             Base, Texas, (Refs l.d., I.e., l.f.). The rifle, with several modifica-
             tions resulting from these tests, is presently being manufactured by Colt's
             Patent Firearms Manufacturing Company, Hartford, Connecticut. (Prior
             to completion of this report, the U. S. Air Force adopted the AR-15 as its
             basic shoulder weapon, replacing the M2 Carbine, the Browning Automatic
             Rifle and the M3 Sub-Machine Gun).

                      c.   (C) Based upon favorable observations of the AR-15 by both
             US Advisors and RVNAF Commanders following limited firing demonstra-
             tions conducted in Vietnam during August 1961, weapons were requested in
             numbers sufficient to conduct a full scale combat evaluation of the AR-15
             by selected units of the RVNAF. In December 1961, the Secretary of
             Defense approved the procurement of 1000 AR-15 Rifles, necessary ammun-
             ition, spare parts and accessories for evaluation.

                      d. (C) O6D/ARPA negotiated a contract with the firm of Cooper-
             MacDonald, Inc., Baltimore, Maryland, for procurement and air shipment
             of all materiel. The first shipment was received on 27 January 1962 and
             subsequent increments arrived approximately every three weeks until the
             contract was fulfilled on 15 May 1962. Operational evaluation and testing
             began on I February and terminated on 15 July 1962.

                 5.   (C) SUMMARY OF TESTS:

                      a.   (C) General.

                           (1) (C) To accomplish the stated purpose of this test, it was
             divided into two parts. One part was a combat evaluation of the AR-15 in
             which the weapons were issued to specially selected ARVN Units for use
             in their operations against the Viet Cong. Along with the rifles and ammuni-
             tion, Vietnamese Unit Commanders and US Military Advisors were given
             weapon preference and operational questionaires and requested to complete
             and return them after training and combat use of the AR-IS. Samples of
             these questionnaires appear as Appendices 1. 2, and 3 of Annex "A".

                          (2) (C) The other part of the test consisted of a comparison
             between the AR-IS Rifle and the M2 Carbine. Areas in which the two wea-
             pons were compared included: physical characteristics; ease of disassembly
             and assembly; marksmanship ability at known distances, semi-automatic
             and automatic fire; markmanship ability at unknown distances, semi-



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           automatic and automatic fire; ruggedness and durability; adequacy of safety
           features; effect s of open storage in a tropical environment; ability to pene-
           trate dense brush and heavy foliage; and, the individual Vietnamese soldier's
           preference between the two weapons.

                  b.   (C) Results, Combat Evaluation.

                       (1) (C)     For detailed report see Annex "A".

                      (2) (C) Summary.     The Vietnamese Unit Commanders and
           US Advisors who participated in the evaluation consider the AR-I5 Rifle
           to be a more desirable weapon for use in Vietnam than the MI Rfle., BAR,
           Thompson Sub-Machine Gun, and MI Carbine for the following reasons:

                      (a) (C) It is easier to train the Vietnamese troops to
           use the AR-IS than the MI Rifle, BAR, MI Carbine, or the Sub-Machine
           Gun.

                       (b)   (C)   The AR-IS's physical characteristics are well
           suited to the small stature of the Vietnamese soldier (see photographs
           I and 2, Annex "17).

                       (c) (C) It is easier to maintain the AR-1 both in the
           field and in garrison than the MI Rifle, BAR, Sub-Machine Gun, or the
           M1 Carbine.

                     (d) (C) The ruggedness and durability of the AR-LS are
           comparable to that of the MI Rifle and superior to that of the BAR, Sub-
           Machine Gun, and MI Carbine.

                       (e) (C)     The AR-IS imposes less logistical burden than
           any of the four principal weapons presently being used by Vietnamese Forces.

                      (f) (C) The AR-lS is tactically more versatile than any
           present weapon being used by Vietnamese Forces.

                       (g) (C)     In semi-automatic fire, the accuracy of the
           AR-IS is considered comparble to that of the MI Rifle, and superior to
           that of the Il Carbine.

                       (h) (C)     In automatic fire, the accuracy of the AR-IS is
           considered comparabe to the browning Automatic Rifle and superior to the
           Sub-Machine Gun.


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                        c.   (C)   Results, Comparison Test of the AR-15 Rifle and the M2

             Carbine.

                             (1)   (C) For detailed report see Annex "B".

                             (2) (C)     Summary:

                                   (a) (C)   Test #1,   Comparison of physical characteristics

                                         (i) (C)   The AR-15 is comparable to the M2 Carbine
            in size and weight.

                                  (ii) (C) The addition of an integral grenade launcher,
            telescope mount, and an accessory bipod the AR-15 Rifle capabilities
            that the M2 Carbine does not possess at present and attainment of which
            would require modification of the weapon (see photograph 3, Annex "D").

                                    (iii) (C) Both the AR-15 and the M2 Carbine are com-
            pati'le with the light weight and diminutive stature of the Vietnamese
            soldier (see photographs 4 and 5, Annex "D").

                                   (b)   (C) Test #2,   Comparative ease of disassembly and
            assembl y .

                                   (i) (C) The AR-15 is simpler than the M2 Carbine
            art, requires less time to disassemble and re-assemble for normal field
            c 3ahing (see photograph 6, Annex "D'").

                                  (ii) (C) The average Vietnamese soldier can be trained
            in the disassembly and assembly of the AR-15 in less time than for the M2
            Carbine.

                                   (c) (C) Test #3, Marksmanship ability, known distance.
                                   (i) (C) The ARYN soldier's ability to deliver accurate
              emi-automatic fire at known distances up to 200 meters with the AR-IS and
            ,he M2 Carbine is comparable. (It is noted that a higher pprcentage of test
            participants fired qualifying scores with both the AR-IS and the 14 Carbine
            than with the MI Rifle. )

                                 (iA) (C) The ARVN soldier can deliver far more
           accurate automatic fire at known distance* up to 200 meters with the AR-iS
           than he can with the 1Z Carbine.




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                               (d)   (C)   Test 04, Marksmanship ability, unknown distance.

                                     (i) (C) The ARVN soldier's ability to deliver accurate
             semi-automatic fire on targets of unknown range using the AR-IS and the M2
             Carbine is comparable.

                                    (ii) (C) The ARVN soldier can deliver more accur-
             ate automatic fire on targets of unknown range with the AR-IS than he can
             with the M2 Carbine.

                               (e) (C) Test 05, Comparative ruggedness and durability

                                    (i) (C) The AR-15 is more durable than the M2 Car-
             bine under conditions that require prolonged firing.

                                  (i) (C) The AR-15 will stand up to rough handling
             normally encountered in combat situations better than the M2 Carbine.

                               (f) (C)     Test 06, Comparison of the adequacy of safety
             features.

                                    (i) (C) The safety features on the AR-IS and the M2
             Carbine are comparable with regard to their adequacy and the ARVN solU
             dier's ability to understand how they function.

                                     (ii) (C) The location of a single selector switch,
             which combines the functions of safety and type of fire selector, oan the
             left side of the AR-15's receiver where itis easily accessible to the thumb,
             enables the ARVN soldier to got the first round off faster with the AJR-l
             than he can with the M2 Carbine. He must manipulate the safety selector
              n the M2 Carbine with his trigger finger, then return it to the trigger to
             fire. With the AR-15, he can keep his finger on the trigger while manipu-
             lating the safety selector with his thumb.

                               (g)   (C)   Test 07. Iff,    o   a   st.mi   i   a tromical

                                     (i) (C) The functioning capability of the AR-IS is
             loss affected by prolonged exposure to tropical weather than that of the M2
             Carbine


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                                 (h) (C) Test 08, Brush penetration

                                   (i) (C) The trajectory of the AR-15 bullet is not sig-
            nificantly affected when fired through dense underbrush at ranges up to 50
            meters.

                                  (ii) (C) The AR-15 round will penetrate jungle under-
            growth equally as well as the M2 Carbine round at ranges up to 50 meters.

                                 (i) (C) Test 9, Troop opinion poll

                                   (1) (C) The great majority of the ARYN soldiers who
            participated in the comparison test prefer the AR-I5 to the MZ Carbine.

                  6.   (C) DISCUSSION:

                        a. (C) The extremely mobile type of offensive warfare being
            stressed by US Advisors in Vietnam and the small stature and light weight
            of the Vietnamese soldier place a high premium on small, lightweight wea-
            pons. In addition, the violent short clashes at close ranges which are
            characteristic of guerrilla warfare in Vietnam make it highly desirable to
            have a dependable weapon capable of producing a high rate of accurate and
            lethal full automatic fire.

                       b. (C) From the viewpoint of standardization and simplicity of
            training and the resultant long range reduction of the logistics burden.
            characteristics af existing weapons were studied to determine if a sle
            weapon could be found that would meet the requirements for a basic shoudr
            weapon for Vietnamese troops. It is believed that such a weapon should en-
            compass the following desirable characteristics of individual weapons:

                           (1)   The effective range of the MI Rifle.

                           (Z) The light weight and small ise of the Ml Carbine.
                           (3) The full automatic capability of the BAR.

                           (4) The simplicity of the SMG.

            Other highly desirable, if not mandatory, features would include a bayonet,
            grenade launching and sniper capability.


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                       c. (C) The ARM 15 appeared to more nearly satisfy the above
            prescirbed characteristics than any other US weapon. The import of the..
            AR-15 weapon/ammunition weight for units that conduct extended opera-
            tions without normal resupply capabilities can be seen in comparing the
            24 lb. weight of an Ml with a battle load of 220 rounds of ammunition with
            the 12 lb. weight of the AR-IS with 220 rounds. This weight difference
            equals approximately 430 rounds of AR- 15 ammunition.

                        d. (C) The Comparison Test (Annex "B' shows the AL-is to
            be distinctly superior to the M2 Carbine. Although the M2 Carbine is suf-
            ficiently light for use by the Vietnamese soldier, it does not possess the
            essential characteristics of a basic weapon for offensive warfare. It lacks
            the effective range of the MI Rifle and has a high malfunction rate (Ref
            1. e. and 1. h.). However, it is apparently available and was considered
            by MAAG as the prime competitor against the AR-15.

                       e. (C) The Combat Evaluation (Annex "All) shows that all US
            Advisors and Vietnamese Commanders who participated in the evaluation
            prefer the AR-15 to any other weapon with which the RVNAF are now
            armed. The lethality of the AR-IS and its reliability record were parti-
             cularly impressive. All confirmed casualties inflicted by the AR-15.
            including extremity hits, were fatal (see photographs 7 and 8, Annex "D").
             The high degree of reliability and trouble-free performance of the weapon
            reflected in previous test reports (Ref 1. c., 1. d. , and 1. f. ) was also note-
            worthy during the testing and evalutaion here. No parts breakage was
            encountered while firing approximately 80,000 rounds during the Comkpari-
            son Test. Only two parts have been issued to date to replace breakage for
            the entire 1.000 weapons. Stoppages on the AR-IS are easily cleared by
            the individual soldier through the application of "immediate action".

                       L (C) A thorough review of the numerous stateside AR-IS test
            reports referenced in paragraph I reveals nothdg which would make the
            foregoing views unsound. The reported poor performance of the AD-IS
            under cold weather conditions is al no concern in Vietnam, The widely
            held view that the AR-IS operates porly under rainy conditions was ab-
            proved in the weapon's second test by Aberdeen Proving Ground (Ref 1. f.).
            Those results were confirmed here during field operations. No deficiencies
            in the weapon requiring correction prior to adoption were found during the
            test in Vietnam, although two minor changes are recommended for product
            improvemem.      These retommendations appear in Annex "C".

                       g.   (C) The combat evaluation part of this test is somewhat sub-
            Jective since it is based on the individual judgments ad maay users.      It is

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           believed, however, that the professional judgments of the senior US
           Advisors and Vietnamese Commanders of the units testing the weapon, all
           of whom are mature, experienced soldiers. does provide for a sound com-
           bat appraisal.

                      h. (C) From an operational viewpoint, it is believed that the tests
           conducted in Vietnam show the superiority of the AR-15 over the M2 Carbine
           and over other weapons now issued to RVNAF. It is believed that the deci-
           sion as to what units might be issued the AR-IS or which weapons the
           AR-15 might replace is dependent on cost and logistical factors which are
           beyond the puzview of this unit.

                 7.   (C)   CONCLUSIONS:    It is concluded that:

                     a. (C) The AR- 15 is more compatible with the light weight and
           small stature of the Vietnamese soldier than the MI Rifle, the Browning
           Automatic Rifle, and the Thompson Sub-Machine Gun.

                      b.    (C) The AR-15 is superior to the M2 Carbine.

                      c. (C) The M2 Carbine lacks the necessary dependability and
           versatility for consideration as the basic shoulder weapon for Vietnamese
           troops.

                     d. (C) The AR- 15 Is capable of replacing any or all of the
           shoulder weapons aurrernty &ng used by the Armed Forces of the Republic
           of South Vietnam.

                     e. (C) The AR- 15 ls considered by both Vietnamese Commanders
           and U.S. Military Advisors who participated in the tests as the best "all
           around" shoulder weapi-..%n Vletnan.

                8. (C) RECOMMENDATiONS:            It is recommended that:

                      a. (C) The AR-13 be considered for adoption as the basic weapon
           for all RVNAF with a '     0,-"sward improving effectiveness and simplifying
           training and weapons/c g-s tis systems.

                     b. (C) Priority ior adoption of the AR-IS be given to those units
           which frequently operate in jungle environment for extended periods, because

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            of the significant operational and logistical advantages accruing to their
            having the lightest and most effective weapon/ ammunition combination
            available.

                       c. (D) The Ul and/or M2 Carbine continue to be issued only
            to those individuals who, because of their duty or position, can function
            effectively with a weapon best suited for a defensive role.

            ANNEXES:
              A. Combat Evaluation w/3 Appendices
              B. Comparison Test
              C. Suggested Corrective Actions
              D. Photographs 1 through 8




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                                            ANNEX "A"

                                    DETAILS OF THE
                             COMBAT EVALUATION OF THE AR-IS


           L    (C) GENERAL.

                     .Selected Vietnamese Units which had previously been engaged in
           considerable combat were issued AR-IS Rifles and ammunition for use
           against the Viet Cong. In addition, each Unit Commander and US Military
           Advisor with these units was given questionnaires in which he was requested
           to evaluate the AR-IS in comparison with the other weapons presently used
           by the RVNAF.    (See Appendices 1, 2, and 3 for samples of questionnaires.)

           I.   (C) DISTRIBUTION OF WEAPONS AND AMMUNITION.

                    Unit                        AR- 15 Rifles            Ammunition

                   7th Infantry Division            100                    50.000 rds

                   Rangers                          100                    50,000 rds

                   Airborne Brigade                 390                  195. 000 rds

                   VN Marines                       100                    50, 000 rds

                    VN Special Forces               100                    50 000 rds

                   Special Battalions               125                  120,000 rds

                    Sth Infantry Division            40                    2S,000 rds

                   Father Hoa                        10                    10.000 rde

                           Total                    965                  550,000 rd-

           m. (C) DETAILS OF TEST.

                   A. (C) Proe        To evaluate the performance of the AR.-IS Rifle
           under actual coi1 t onditious and to compuae this performance to that of
           the weapons presently being used by the RVNAF.

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                 B. (C) Method:   Each Unit Commander and US Military Advisor of
           those units receiving AR-15 Rifles evaluated its performance in combat and
           compared it to the performance of those weapons presently being used by
           the RVNAF. Areas in which the AR-15 was evaluated and compared in-
           cluded: training; physical characteristics; ease of maintenance; ruggedness
           and durability; logistical considerations; accuracy; and tactical versatility.
           In the questionnaires given them, Commanders and Advisors were instructed
           to award 5 points to the most desirable weapon, 4 points to the second, 3
           points to the third, 2 points to the fourth, and 1 point to the least desirable
           weapon in each category delineated above.

                C. (C) Results: The results from the questionnaires are set forth
           in the table below and reflect the evaluation of the AR-15 by Commanders
           and Advisors of most of the different types of tactical units in Vietnam (as
           listed in paragraph UI above). The figures indicate the total number of
           points awarded to each weapon by Vietnamese Unit Commanders and U.S.
           Military Advisors in their joint responses to the questionnaires.

            1.   Training.                               MI                   Ml        Max.
                                            AR- 15       Rifle   BAR   SMG   Carbine   Poss.
           a.  Simplest to train the
           troops to use                     59           44     15    37      55       70

           b.   Simplest to train in
           functioning                       61           50     1s    37     47        70

           c. Simplest to train in
           disassembly and assembly          63           48     14    37     48       70
                                                     ........                  -.

                        Total                183         142     44    111    150      210

           2.    Physical Characteristics                MI                   M1        Max.
                                            AR-15        Rifle   BAR   SMG   Carbine   Pose.
           a.  Easiest for soldier to
           aim and fire                      60           29     17    42      62       70

           b.  Easiest to carry over
           open terrain                       59          29     14    43      64       70

           c. Easiest to carry through
           jungle terrain                     59          29     14    45      63       70

           d.   Easiest to hold on a target
           while firing several rounds      69            40     24    24      53       70
                        Total               247          127     69    14     242      280
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            3.   Maintenance                            MI                   MI        Max.
                                           AR- 15       Rifle   BAR   SMG   Carbine   Poss.
            a.  Simplest to disassemble
            and assemble                     65           43     14   39      49       70
            b.   Easiest to maintain in

            the field                        63           51     16   34      46       70

                             Total          128           94     30   73      95      140

            4.   Ruggedness & Durability                Ml                   Ml        Max.
                                        AR- 15          Rifle   BAR   SMG   Carbine   Poses.
            a.   Most rugged weapon       52              59     33    35     31       70

            b.  Had fewest stoppages or
            malfunctions during firing       59           59     20   32      39       70

            c.  Most reliable under all
            conditions                       57           60     28   30      35       70
                             Total          168          178     81   97     105      210

            5.   Logistics                              Ml                   Ml        Max.
                                           AR-15        Rifle   BAR   SMG   Carbine   Poss.
            a.  Imposes least logistical
            burden                           66           47     17   30      so       70
                             Total           66           47     17   30      so       70

            6.   Tactical                               Ml                   Ml        Max.
                                           AR- 15       Rifle   BAR   SMG   Carbine   Pose.
            a.   Easiest to employ                        40     18    39     49       70

            b. Preferred in ambush/
            counter-ambush situations        69           28     36   48      29       70

            c.  Preferred against massed
            troops                       65               32     61   33      19       70

            d.   Tactically most versatile 69             43     38   29      31       70

                             Total          267          143%   153   149    128      a60



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           7. General                            I        ML                       MI      Max.
                                            AR-15        Rifle    BAR   SMG      Carbine   Poss.
           a. Preferred by troops              6         -28       18    4          51      70

           b. Preferred by commanders
           and advisors               64                   33      21    39        43       70

           c. Most suited to VN soldier
           under present tactical condi-
           tions                         67               30       21    42        50       70

           d. Most effective at most
           common range for engaging VC
           (0-200 meters)               63                46       49    22        30       70
                         Total               261         137      109   149       174      280

           Recapitulation:     In all aspects covered, the total ratings for all weapons were
           as follows:

           AR-15       MIRifle       BAR       SMG         MICarbne           Maximum Possible

                1320     868          503      763               894               1470

           8.   Accuracy. Advisors and Unit Commanders were requested to evaluate
           the accuracy of the AR-15 and compare itwith other present weapons in both
           automatic fire and semi-automatic fire. Their evaluation is reflected in the
           following table:
                                                 MI                      Ml      Max.
                                      AR-15      Rifle BAR SMG Carbine Poss.
           a. Semi-automatic fire        "          U                     45

           b.     Automatic fire              65                   57   42                  70

           9. (C) Remarks. Unit Commanders' and Advisors' remarks concerning the
           value of the AR-IS to Vietnamese Units and its worth as a combat weapon in
           the war in South Vietnam as opposed to existing weapons were also requested.
           Generally, the comments were extremely favorable to the AR-IS. All of
           the comments received are presented below in their entirety and in the form
           in which they were received.

                (1) (C) "On 160900 June 62, one platoon from the 340 Ranger Company
           was on an operation vic. YT260750 and contacted 3 armed VC in heavily
           forested jungle. Two VC had carbines, grenades, mines, and one had a

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             SMG. At a distance of approximately 15 meters, one Ranger fired an
             AR-15 full automatic hitting one VC with 3 rounds with the first burst. One
             round in the head-took it completely off. Another in the right arm, took
             it completely off, too. One round hit him in the right side, causing a hole
             about five inches in diameter. It cannot be determined which round killed
             the VC but it can be assumed that any one of the three would have caused
             death. The other 2 VC ran, leaving the dead VC with I carbine, 1 grenade
             and 2 mines. " (Rangers)

                 (2.) (C) "On 9 June a Ranger Platoon from the 40th nf Regt was
             given the mission of ambushing an estimated VC Company. The details
             are as follows:
                         a. Number of VC killed: 5
                        b. Number of AR-oS's employed: 5
                         c. Range of engagement: 30-100 meters
                         d. Type wounds:
                             1. Back wound, which caused the thoracic cavity to explode.
                             2. Stomach wound, which caused the abhlominal cavity to
                                explode.
                             3. Buttock wound, which destroyed all tissue of both
                                buttocks.
                             4. Chest wound from right to left, destroyed the thoracic
                                cavity.
                             5. Heel wound, the projectile entered the bottom of the
                                right foot causing the leg to split from the foot to the
                                hip.
                         These deaths were inflicted by the AR-IS and all were instan-
             taneous except the buttock wound. He lived approximately five minutes.

                       The following is a list of minor deficiencies noted during this
             period:
                         a. The stock and heat deflector will reflect light. This light
             is visible for approximately 150 feet at night.
                         b. A brass brush is needed to remove carbon from the bolt
             carrier. "t (Rangers)

                  (3.) (C) "72 AR-1S Rifles were carried into this action (airborne as-
             sault). The drop sone was barely acceptable and many troops landed in
             high trees. Several LUG's and BAR's were not operational after the drop.
             Only one AR- IS was reported slightly damaged (damaged pistol grip) and
             all were operational- Throughout the entire operation, which lasted 6 days
             and covered over 40 kilbmeters of difficult terrain including dense jungle
             and frequent water crossings, the weapons (AR-IS) held up exceptionally
             welL " (Airborne Brigade)


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                  (4.) (C) "The AR-15 proved to be an effective weapon on this opera-
             tion for the following reasons:

                        a. The weapon held up very well on the p&radrop which took
             place on a small drop sone surrounded by dense forests. Landings of the
             troopers were much rougher than normal. Many troops landed in high
             trees.  This subjected the individual weapons to a much more severe test
             than usual. Some of the LMG's and BARs were not operational after the
             jump. All AR-15's were functional.

                       b. Field maintenance on this weapon (AR-15) proved to be much
             simpler than on the other weapons.

                        c. While no decisive engagement was made so that the striking
             power of this weapon (AR-15) could be observed, the troops had great
             confidence in it and it is my belief that it would have greatly increased our
             overall firepower had it been tested. " (Airborne Brigade)

                  (5.) (C) "During the period from 16 April to 11 May 1962, the 8th
             Battalion, Airborne Brigade, participated in two (2) operations of five (5)
             and four (4) days duration.

                  The AR-15 was carried during both operations. I was not in a posi-
             tion to observe the engagement of Viet Cong with the AR-IS during either
             operation although it was fired on different occasions.

                 The following remarks therefore,     are confined to other observations
             and personal opinions on the AR- I5:

                        a. Maintenance requirements for the AR-15 were negligible.
             I inspected numerous weapons throughout the entire period stated above and
             always found the weapons in excellent firing condition.

                         b. A great simplification in the small arms weapons could be
             effected by the adoption of the AR-15 to replace the BAR, MI, and Car-
             bine. The effectiveness of the weapon (AR-I5), however, I cannot attest
             to at this time.

                         c. The troopers have a great amount of respect for the AR-IS.
             If the weapon were adopted as TO&k for Airborne Units, there would be a
             tremendous psychological uplift in the individual soldier's belief in his
             ability to shoot and kill. " (Airborne Brigade)

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                 (6.) (C) "One company (96 off & EM) completely equipped with the
             AR-15. Six operations took place prior to any real use of the weapon.

                 Five VC were hit, all five with body wounds, and all five killed.
             Four were probably killing wounds with any weapon listed, but the fifth
             was essentially a flesh wound. The AR-15 made it a fatal wound.

                  The troops have a great deal of respect for the weapon and prefer it
             to all others. They take excellent care of it.

                  One left upper handguard was cracked and broke during routing a
             stubborn captive from a wooded area. The soldier concerned placed the
             handguard against a VC head with considerable force. " (7th Infantry Div-
             ision)

                  (7.) (C) "On 23-24 May 1962, one company completely equipped
             with AR-15's (87) plus Bn Hq elements was involved in one light and one
             heavy action. No wounded were captured and all casualties were inflicted
             with the AR-15. 27 Viet Cong were killed (24 counted by the advisor) and'
             25 captured. Grenades were used for the first time and were very effec-
             tively employed at ranges of 100-500 meters. They served as the real
             artillery support as we could not get the artillery to fire any closer than
             400 meters. About 36 grenades were utilized in the havy action, all pro-
             pelled from the AR- 15. The troops are very enthusiastic about the weapon
             and treat it with greater care than usual. " (7th Infantry Division)

                  (8.) (C) "To date, this weapon has been used only for training. The
             simplicity of construction has reduced t~ainig time necessary for main-
             tenance by approximately fifty per-cent. It is believed that this is an ideal
             weapon for this type weather and terrain. " (Special Battalions)

                 (9.) (C) "On 13 April, 62, a Special Forces team made a raid on a
             small village. In the raid, seven VC were killed. Two were killed by
             AR-15 fire. Range was 50 meters. One man was h't in the head; it looked
             like it exploded. A second man was hit in the chest,; his back was one big
             hole. " (VN Special Forces)

                 (10.) (C) "This weapon is ideal for this country primarily for these
             reasons:
                        a. Durability & ease of maintenance.
                       b. Good Accuracy.
                       c. Rapid rate of fire.
                       d. Light weight (size k shape make it easy for Vietnamese to
                          handle).
                       e.   Zxcellent killing or stopping power. " (Airborne Brigade)

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                  D. (C) Analysis: Based on the numerical ratings and the comments
             of US Advisors and VN Unit Commanders, the AR-I5 is the most desirable
             weapon for use in Vietnam for the following reasons:

                       1.   Ease of training.

                       2.   Suitable physical characteristics.

                       3.   It is easy to maintain.

                       4.   It is more rugged and durable than present weapons.

                       5.   It imposes the least logistical burden.

                       6.   It is the best weapon for al-around tactical employment.

                         7. Its semi-automatic firing accuracy is comparable to that of
             the MI Rifle, while its automatic firing accuracy is considered superior
             to that of the Browrnig Automatic Rifle.

                       8.   Vietnamese troops, Commanders and US Advisors prefer
             it to any other weapon presently bting used in Vietnam.

             APPENDICES:
               1. Weapons Quest-,n .re
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                                      WEAPONS OUESTIONNAIRE

             Based upon your experience and observation as the Commander or
         Advisor of a unit of the RVNAF, rate the weapons on the right side of this
         questionnaire in order of preference with respect to the characteristics and
         questions listed. Your answers should reflect your opinion as to the value
         of the weapons to the Vietnamese, not the US Forces.

              Rating Key.   5 - first choice            2 - fourth choice
                            4 - second choice           I - last choice.
                            3 - third choice


         A. TRAINING                                     Ml                   Ml
                                                  AR-15 Rifle   BAR    SMG   Carbine
         I. Which weapon is easier to train
            the troops to use?

         2. Which weapon is easier to train
            the troops 4n functioning?

         3.    Which weapon is easier to train
              the troops to disassemble and
              assemble?

                                                         Ml                   Ml
         B. PHYSICAL CHARACTERISTICS              AR-15 Rifle   BAR    SMG   Carbine

         1. Which weapon, because of its size
            and shape, is easiest for the
            soldier to aim and fire?

         2.    Which weapon, because of size,
              shape and weight, is easier for
              the soldier to carry over open
              terrain?

         3. Which weapon, because of s*ze,
            shape and weight, is easiei for the
            soldier to carry in the jungle?

         4. Which weapon is easiest to hold on a
            target while firing several rounds?

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                                                        MI                 Ml
        C. MAINTENANCE                         AR-15   Rifle   BAR   SMG Carbine

        1. Which weapon is simplest to
           disassemble and assemble?

        2. Which weapon is easiest for the
           troops to maintain in the field?

                                                        Ml                Ml
        D. RUGGEDNESS & DURABILITY             AR-15   Rifle   BAR   SMG Carbine

        1. Which weapon is most rugged?

        2. Which weapon had the fewest
           stoppages and malfunctions?

        3. Which weapon is the most reliable
           under all conditions?

                                                        MI                MI
        X. LOGISTICS                           AR-IS   Rifle   BAR   SMG Carbine

        1. Which weapon imposes the smallest
           logistical burden? (Consider
           weight, spare parts, ease of repair,
           etc.)


                                                       MIl                 Ml
        F. TACTICAL                            AR-IS   Rifle   BAR   SMG Carbine

        I. Which weapon is easiest to employ?-

           Why?

        2. Which weapon would you prefer in
           ambushlcountes -ambush situations?

           Why?

        3. Which weapon would you prefer
           against mass attaeks?

           Why?

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                                                          Ml                   MI
                                                 AR-15   Rifle   BAR   SMG   Carbine

         4. Which weapon do you consider
            most versatile? (Consider all
            capabilities)

                                                          Ml                  Ml
         G. ACCURACY (Rate S, 4 & 3)             AR-I5   Rifle   BAR   SMG   Carbine

         1. Which weapon appears most accurate
            when fired semi-automatically?  --


         2. Which weapon appears most accurate
            when fired automatically?
                                                         Ml                    Ml

         H. GENERAL                              AR-15   Rifle   BAR   SMG   Carbine

         1. Which weapons do, the troops prefer?

            Why?

         2. Which weapon would you prefer for
            your personal use?

            Why?

         3. Which weapon do you think is most
            suited to the Vietnamese soldier
            under present tactical conditions?

            Why?

         4. At what range do you think most
            Viet Cong are engaged?

         5. Which weapon do you think is most
            effective at that range?

         6. If the TO&E of your unit only allowed
            a single weapon, which one would
            you choose?

            Why?

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         I. IERMARKS:      In the space below, please make any pertinent remarks you
         may have oncerig the AR-15 Rifle, its effectiveness in South Vietnaem,
         its assets or its shortcomings (Continue on back of page if necessary).




         Unit


             Digate___




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                            FOR THE RVNAF UNIT COMMANDER

          QUESTION NO. 1:

                 How many weapons of each of the following types were carried into the
           combat engagement, how many rounds of ammunition per weapon were car-
           ried, and how many rounds fired?

                             No. Weapons              Ammo rds/wap,                    Ammo rds. fired
          BAR

          Ml

          BUdG

           Carbine
          AR_ 15             _   _   _   _   _   _     _   _   _   _   _   _   _   _   _   _   _   _   _   _   _




          QUETIO      NO. 2:

                 How many VC were killed?
                               wounded?

                 How many of the VC were KIA by the AR-IS?

                 How many of the VC were wounded by the AR-IS?

          QUESTIOI NO. 3:
                 What percentage of the friendly fire was full automatic?

                 What percentage of the AR-1S fire was full automatic?

                What percentage ad the AR-IS's had the salety device metalled that
          allowed either Lull or serm-automatic fire?

          OUSTION N0. 4:

                 What was the maximum range at which shots were fired at the VC?

                 What was the average range?

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            QUESTION NO. 5:

                    Were aimed shots fired through light brush?______

                 If so, about what percent of the total fire from all weapons (BAR, SUG,
            MI. Cargine, AR-iS) wore aimed shots through light brush?

                    Less than 5%   _    ____Less                       than Z0%

                    Less than 50%                            More than 50%

                   In your opinion were shots from the AR-1S missed because of brush
            deflection?_______

                  If your answer to this question is yes, is it your opinion that the full
            automatic feature of the AR-IS and the extra rounds that can be carried
            for a given weight allowance do or do not compensate for this bruch deflec-
            tion? Yes_____              No_____             No Opinion_ ___

            QUESTION NO. 6:

                   Were any rifle barrels bent in air drops or other rough handling and
            hard usage?_____

                   Were any barrels damaged by being fired with water zn the bore?

                   Were there any malfunctions of any type?   ______




                   If yes. please elaborate in the remarks section of this questionnaire.

            QUESTION NO. 7:

                   As a unit commander of the RYNAF, how would you rate the AR-is
            Rifle in the guerrilla warfare action you expect to fight as compared with
            the other types of weapons Hasted?

                   In each space use; A - For the AR-IS is better than
                                      * - For there ts no difference
                                      * - For the AR-IS is worse than
                                      * - For no opinion

                                                       Ml        BAR         5MO   Carbine

            Speed of employment                         --
            Accuracy                                    --


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                                                     MI        BAR       8MG                   Carbine

           Striking power--                                                   -

           Fire power-                                                        -

           Reliability-                                        --

           Field maintenance                                                                  _____


           Weight_____
           Size
           Overall                                 _________

           Overall for ambushes only---

           QUESTION NO. 8:

                 If the VC tactics grow into large scale attacks and the "human sea"
           type tactic is used, how would you rate the AR-IS overall against these other
           weapons? (Same scale as abowe: A. B, C. D)

                         Ml           BAR           8MG             Carbine



           QUESTION NO. 9:

                  Would the soldier who carried the AR-15 into this engagement choose
           it again over the weapon he formerly carried?

                                                  'I Would               16 would
                                                  choose AR- 15          choose other
                  Formerly carried the BAR        _______                ______

                  Formerly carried the Ml          ______                     _____


                  Formerly carried the 8MG         ______                     _____


                  Formerly carried the Carbine     ______                     _____




           QUESTION NO. 10:
                  As an RVNAFr unit commander. if you bad your choice ad weapons con-
           sisting of all four of the following: BAR. MI. 8MG. Carbine or the AR-!1%
           which would be your choice?

                                    OPTION A.- BAR, MI. 33MG. Carbine                 _____




                                OPTION 5: AR- IS_ ___
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                 If your answer is option A, would you choose to completely replace
           any of the four weapons with the AR-15?

                Would completely replace:         BAR_        _       .

                                                  MI

                                                  SMG

                                                  Carbine_        _

           QUESTION NO. 11:

                 Please elaborate in the space below or using extra shoots an any
           point not adequately covered above.




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                      QUESTIONNAIRE FOR THE SENIOR MAAG ADVISOR
           1. In the engagement with the VC covered by this questionnaire, how many
           of each of the following weapons were carried by your unit?

                BAR         SMG          MI          Carbine             AR-15

           2.   If the AR-IS had not been used, how many of each would have been carried?

                BAR         SMG          Ml          Carbine

           3. As a MAAG Advisor to the RVNAF you obtain insight into the combat
           situation in SvN not available to the CDTC or to other US Government officials.
           These questionnaires can only gain a little part of the whole individual weapons
           problem. Some of the questions asked of the RVNAF unit commander are,
           therefore, repeated here because they are considered of prime importance.

           QUESTION: How do you as a MAAG Advisor rate the AR-15 Rifle in the
                     SVN guerrilla war as compared to the following weapons?

                                                   BAR         Ml     SMG        Carbine

           A.   The AR-15 is better.
           B.   No difference.
           C.   The AR-15so worse.
           D.   No opinion.

           How would you rate the AR- 15 against
           these weapons for ambushes only?

           How would you rate the AR-IS in a
           '"uman sea" attack against these
           weapons?

           As a MAAG Advisor to RYNAF, if you were to recommend the TO&E of the
           above weapons or the AR-IS only which would you recommend?_   _


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              4. U you would not recommend completely replacing all four of the above
              weapons with the AR-15, would you recommend completely replacing any
              one of the four?

                  Would recommend completely replacing BAR_          _
                  Would recommend completely replacing MI
                  Would recommend completely replacing SMG
                  Would not completely replace any of these weapons_     _

              5. Remarks: In the space below or on additional sheets please elaborate on
              any points not adequately covered above.




                                                                   (Signature)


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                                               ANNEX "B"

                                     DETAILS OF COMPARISON TEST
                                 BETWEEN THE AR-I5 AND M2 CARBINE


          i.   (C)     GENERAL.

                     Personnel from a Vietnamese company that had just completed
          advanced individual training were used as test subjects for most of this com-
          parison. The unit of 180 men was divided into two groups of 90 men each.
          Group A received one M2 Carbine per man, while Group B received an
          AR-IS for each man. Each group was then given a course of instruction on
          their respective weapon. The instruction for each was identical in time and
          scope of material covered. Following this, both groups underwent an
          identical test program which consisted of: assembly and disassembly;
          known distance firing, both semi-automatic and automatic fire; unknown
          distance firing, semi-automatic and automatic fire; bayonet course; and,
          infiltration course. This phase lasted for one week (44 hours). At the end
          of the first week, the two groups traded weapons and the course of instruc-
          tion and the tests were repeated.

          1I.(C)       SUMMARY OF TESTS.

                 To arrive at a valid conclusion concerning the relative suitability of
          the AR-IS as opposed to the M2 Carbine for possible use by selected units
          of the Armed Forces of the Republic of Vietnam, a total of nine tests were
          conducted. They were:

                     1. Comparison of Physical Characteristics.
                     2. Comparative Ease of Disassembly and Assembly.
                     3. Marksmanship Ability - Known Distance (semi-automatic and
                           automatic fire).
                     4. Marksmaship Ability - Unknown Distance (semi-automatic and
                           automatic fire).
                     S. Comparative Ruggedness and Durability.
                     6. Adequacy of Safety Features.
                     7. Effects of Open Storage in a Tropical Environment.
                     S. Comparative Ability to Penetrate Dense Foliage.
                     9. Troop Preference Poll.




          ANNEX I'D


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          M. (C)      DETAILS OF TESTS.

              Test No. 1.     Comparison of Physical Characteristics.

               Purpse: To compare the physical characteristics of the AR-IS Rifle
          and the M2 Carbine.

               j4" d: Both weapons were weighted and measured and the resulting
          data. recorded.

              Results:

              a.   Weights (lbs.):                         AR-IS           M2 Carbine

                      Weapon (less sling, maga ibe
                         and accessories)                  6.24              5.98

                      Magazine (empty)                     0. 18*            0. 25*

                      Magazine (loaded - 20 rds)           0.68

                      Magazine (loaded - 30 rds)             -              .1.02

                      Bayonet                              0.62              0.72

                      Bipod                                0.50            (No Bipod)

                      Sling                                0.19             0.07

                                Totals: w/20 rd mag loaded 8.23
                                          w/30 rd mag loaded                 7.79
          *Figure not included in totals.

                 Relative Battle Load (lbs.) - including accessories of sling,
          bayonet, biped.
                      Weapon w/12 magazines (240 rds) 15.71
                      Weapon w/8 magazines (240 rds)                        14.93

              b. Dimensions (inches):                      AR-IS         M2 Carbine

                      Length of barr4                      20.00           18.00

                      Overall length                       37.50           35.58

                      Overall length w/bayonet             42.98           42.26

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                Analysis: The Ar-15 and the MZ Carbine are comparable in size and
          weight and both are compatible with the light weight and small stature of
         the VN soldier. An integral grenade launcher and telescope mount and an
          accessory biped are included in the weapon weight of the AR-15. These
          are not standard items for the M2 Carbine.

               Test No. 2. Comparative Ease of Disassembly and Assembly.

               Purpose:    To compare the ease of disassembly and assembly of the
         AR-15 Rifle and the M2 Carbine and the difficulities of training encountered
         therein.

               Method:

                a. Each group of test subjects received a two hour period of instruc-
         tion in the disassembly and assembly of their respective weapons. After
         completing this instruction, test personnel selected random samples of
         10 men and had them disassemble and resassemble their weapons. This
         procedure was repeated with each group until 100 men had been tested vith
         each weapon. Times were recorded by Non-Commissioned Officers and
         the weapons were inspected for proper assemblyby Test Committee Cadre.

               b. For the purpose of this test, both weapons were disassembled only
         as far as was necessary for field cleaning, i.e., "field stripped".

               Results:
                                                           AR-15           M2 Carbine
               a.   Average time required for
                     disassembly & assembly.           1 min. 17 sec.      3 min. 17 sec.

               b.   Could not reassemble (percent)         0%                 19%

               c.   Reassembled improperly (percent)       4%                 10%

               d.   Number of parts handled by
                     soldier in field stripping            7                  11

               Analysis:

              a. The AR-5 is simpler and requires less time to disassemble and
         assemble for normal field cleaning.



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                   b. The average Vietnamese soldier can be trained in the disassembly
             and assembly for field cleaning of the AR-15 in a shorter time than for the
             MZ Carbine. This ii further emphasized by the fact that all test subjects
             had previously received 12 hours of instruction on the MI Carbine while
             undergoing basic combat training.

                   Test No. 3.   Marksmanship Ability, Known Distance.

                   Purpose: To compare the ability of ARVN soldiers to deliver accur-
             ate semi-automatic and automatic fire on targets at known ranges using
             the AR-I5 and the UZ Carbine.

                   Method:

                   a. Each group of test subjects received 10 hours of preliminary
             marksmanship training on their respective weapon. Upon completion of
             formal instruction, zeroing of weapons and practice firing at 26, 100 and
             ZOO meters, each group fired a qualification course for test purposes.
             Each test participant completed this qualification course with both the AR- 15
             and M2 Carbine.

                  b. In semi-automatic fire, the course fired for the test was the
            standard ARVN Ml rifle qualification course. The scores obtained by the
            test subject with both weapons in this firing were compared with each other
            and with previous scores fired by the test subjects in qualifying with the Ml
            Rifle while undergoing Basic and Advanced Individual Training.

                  c. In automatic fire, the test subjects engaged the standard ARVN
            silhouette target at ranges of 75, 100 and 200 meters. Each individual
            fired a total of 40 rounds from each range. Scores were computed on the
            basis of 5 points per target hit and an average of 50% hits was used as the
            basis for qualification.

                  d. Throughtout all firing, stoppages or malfunctions due to mechani-
            cal failures were noted and recorded.

                  e. Throughout all firing, observations concerning the adequacy of
            safety features and the ARVN soldier's ability to understand them were
            recorded.


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            ANNEX "B"



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                     Results:
                                                        AR- 15    M2 Carbine     MI Rifle
                                                                                       -
                     Semi-automatic:
                       Percent qualified                  26%        27%            15%

                     Automatic:
                       Percent qualified                  71%         7%
                     Analysis:

                   a. The ability of the ARVN soldier to deliver accurate semi-automatic
             fire on targets of known range with the AR-15 and the MZ Carbine is com-
             parable. Test participants, as a group, fired a higher percentage of quali-
             fying scores with both the AR-IS and M2 Carbine than they had previously
             fired with the Ml Rifle.

                   b. The ARVN soldier's ability to deliver accurate aiomatic fire an
             targets of known range is far greater with the AR- IS rifle than with the M2
             Carbine.

                     Test No. 4.   Marksmanship Ablity, Unknown Distance.

                  PTo           compare the ARVN soldier's ability to deliver accurate
             semi-automatic and automatic fire on targets of unknown range using the
             AR-15 Rifle and the M2 Carbine.

                     Method:

                     a.   The standard ARVN Transition firing course was used for this
             test.

                   b. Semi-automatic fire. Each man received 40 rounds to engage 20
             targets at varying ranges from 50 to 250 meters. For a first round hit, he
             was awarded 10 points. For a second round hit, he was awarded 5 points.
             Qualification score for the course was 100 points.

                   c. Automatic Fire. Each man received 80 rounds to engage 20 tar-
             gets in short bursts. Targets were located at varying ranges from 50 to
             250 meters. Scores were computed on the basis of S points per target hit.
             Qualification score for the course was 100 points.

                   d. Throughout all firing, stoppages or malfunctions due to mechani-
             cal failures were noted and recorded.

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                   e. Throughout all firing, observations concerning the adequacy of
             safety features and the ARVN soldier's ability to understand them were
             recorded.

                   Results:
                                                       AR- 15      M2 Carbine
                   Semi- automatic run:
                     Percent qualified                  23%           22%

                   Automatic run:
                     Percent qualified                  23%           15%

                   Analysis:

                   a. The ARVN soldier's ability to deliver accurate semi-automatic
             fire on targets of unknown range using the AR-15 and the M2 Carbine is
             comparable.

                   b. The ARVN soldier's ability to deliver accurate automatic fire on
             targets of unknown range is greater with the AR- 15 sa with the M2 Carbine.

                   Test No. 5.   Comparative Ruggedness and Durability.

                   Purpose: To compare the ruggedness and durability of the AR-15
             Rifle and the MZ Carbine.

                   Method:

                    a. Concurrent with all other testing, observations concerning the
             ruggedness and durability of each weapon were recorded. During all firing
             excercises, any stoppage or malfunction of either weapon caused by mechan-
             ical failure was noted and recorded.

                   b. Fifty AR-15 Rifles and fifty M2 Carbines were each run through
             the standard ARVN Bayonet Assault Course twice. At the completion of the
             course, the weapons were inspected and "dry fired". Any deficiencies
             noted were recorded.

                    c. Fifty AR-15 Rifles and fifty MZ Carbines were each run through
             the standard ARVN Infiltration Course twice. At the completion of the
             course, the weapons were inspected and "dry fired". Any deficiencies
             noted were recorded.

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                   Re suits:

                   a. After the first week of firing, seven M2 Carbines were eliminated
             from the test. Six of these would not fire automatically because of defective
             disconnector springs; the other would not fire at all because of a broken
             disconnector pin. In contrast, all AR-15sa functioned properly throughout
             the entire test period.

                  b. After negotiating the Bayonet Assault Course the second time,
             two NZ Carbines were eliminated from the test because of broken stocks.
             No AR-15 Rifles were damaged.

                    c. Both the M2 Carbine and the AR-15 were carried through the
             Infiltration Course twice without adverse effect.

                   Analysis:

                  a. The AR-I5 is considered to be more rugged and durable than the
             M2 Carbine under conditions which require prolonged firing.

                   b. The AR-15 will stand up to rough handling normally encountered
             in combat situations better than the MZ Carbine.

                   Test No. 0.   Comparison of the Adequacy of Safety Features.

                   Purpose: To compare the adequacy of the safety features of the
             AR-I5 Rifle and the MZ Carbine with respect to their function and location
             and the ARVN soldier's ability to understand them.

                   Method:

                   a. Concurrent with all firing and tests in which ARVN soldiers
             handled the Al-1S and MZ Carbine, test committee cadre made observa-
             tions concerning the adequacy of the safety features with respect to their
             function and location and the soldier's ability to understand them.

                   Results:

                   a. No misfires occurred throughout the firing that were attributable
             to improper functioning of the safety mechanism on either the AR-15 or
             the M2 Carbine.

                   b. The ARVN soldiers had no difficulty in uderstanding the function
             and operation of the safety mechanisms on either weapon.

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               Analysis:

                a. The safety features on the AR-15 and the MZ CLiinDe are considered
             comparable with regard to function and the ARVN soldiq' v's ability to under-
             stand them.

               b. The location of a single selector switch which cookhbines the functions
            of safety selector and rate of fire selector, on the left MAd. of the receiver
            where it is easily accessible to the thumb, enables the $AVN soldier to get
            the first round off faster with the AR -15 than he can wit a the UZ Carbine.
            With the MZ Carbine, he must manipulate the safety se4oector with his trig-
            ger finger, then return it to the trigger to fire. With t0 be AR-IS he can
            keep his finger on the trigger while manipulating the s.obety selector with
            his thumb.

               Test No. 7.     Effects of Open Storage in a Tropical pnvirmment.

               Purpose: To determine the effects of open storage toi a tropical climate
            on the AR-IS Rifle and the M2 Carbine and compare tho results of such
            storage on each weapon.

               Method:

               a. Two AR-15 Rifles and two MZ Carbines were ototeoled in the open for a
            period of two weeks without any care or maintenance. AAt the end of the stor-
            age, the weapons were examined and pertinent obserrato4ons recorded.

               Results:

               a.   MZ Carbines:

                    1. Because of rust and sand which had collecto td in the receivers,
            operating handles on both weapons could not be operato ld manually and force
            was required to open the bolts.

                    . The operating slide stops would not fumctiozlg properly because
            sand and grit had fouled the operating slide stop sprimlote.
                    3.    Both magasines were rusty and had collect4i enough sand to
            prevent them from operating properly without first be4mg thoroughly cleaned.

                    4.    The chambers and bores of both weapos veare rusty.

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            ANNEIX "B"

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                     5. The rear sights on both weapons could not be adjusted for wind-
             age due to the collection of rust and grit on the windage screws.

                    6. Approximately twenty minutes were required to clean each wea-
             pon before test personnel considered it safe to fire.

                b.    AR-15 Rifles:

                    1. The charging handles on both weapons were difficult to operate
             because sand had collected within the receiver.

                      2.   The bolt and bolt carriers of both weapons were rusty.

                      3.   The chambers and bores of both weapons were rusty.

                     4. Approximately five minutes were required to clean each weapon
             before test personnel considered them safe to fire.

                Analysis: The AR- 15 Rifle, because it has fewer moving parts, will
             function more readily than the M2 Carbine after extended periods of stor-
             age in the open under tropical conditions.

                Test No. 8. Brush Penetration.

                Purpose: To determine whether dense brush and undergrowth affects
             the trajectory of the AR- 15 bullet and to compare its ability to penetrate
             heavy foliage with that of the MZ Carbine.

                Method:

                 a. Silhouette targets were positioned behind dense underbrush which
             generally consisted of bamboo saplings, bush, grass and vines. From a
             distance of 15 meters, both the AR-15 Rifle and the M2 Carbine were fired
             at the targets.

                 b. The distance was then increased to 50 meters and the targets were
             fired upon again. (Beyond 50 meters it was impossible to distinguish a
             target, so this was considered an acceptable maximum distance for the
             test).

                c. Procedures a and b above were repeated several times with foliage
             of varying density.

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               Results:                                                     No. of hits
                                                    No. of rounds
            Type of Underbrush          Rang           fired             AR-IS       MZ
            Light underbrush           15 meters          6                 6         6

            Moderate underbrush &
              bamboo thicket           15 meters          6                 6         6

            Heavy underbrush &
              bamboo thicket inter-
              woven with vines         15 meters          6                 6         6

            Light underbrush           50 meters          6                 6         6

            Moderate underbrush &
              bamboo thicket           50 meters          6                 6         6

            Heavy underbrush &
              bamboo thicket inter-
              woven with vines         50 meters          6                 6         5

               Analysis:

                a. The trajectory of the AR- 15 bullet is not significantly affected when
            fired through dense underbrush at ranges up to 50 meters.

               b. The AR- 15 round will penetrate jungle undergrowth equally as well
            as the MZ Carbine round at ranges up to 50 meters.

               Test No. 9.   Troop Preference Poll.

               Purpose: To obtain subjective data concerning the ARVN soldier's indi-
            vidual preference between the AR-15 Rifle and the MZ Carbine.

              Method: Upon completion of all tests by participating personnel, each
           individual present for duty (158) was questioned with regard to preference
           between the two weapons.

               Results:

               a. Thought the Ak-15 had the best "feel"                   129
                  Thought the MZ Carbine had the best "feel"                         29

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               b.   Thought the AR-15 had the best sight              66
                    Thought the M2 Carbine had the best sight                 92

               c.   Thought the AR-15 would stand up best under
                      combat conditions                              107
                    Thought the M2 Carbine would stand up best
                      under combat conditions                                 51

               d.   Preferred the AR-15 grip                         129
                    Preferred M2 Carbine grip                                 29

               e.   Thought AR-I5 easier to load                     120
                    Thought M2 Carbine easier to load                         38

               f.   Thought AR-I5 easier to get ready to use          81
                    Thought M2 Carbine easier to get ready to use             77

               g.   Thought AR- 15 easier to disassemble             140
                    Thought M2 Carbine easier to disassemble                  18

               h.   Liked the AR-15 better from recoil standpoint    106
                    Liked M2 Carbine better from recoil standpoint            52

               i.   Thought AR-i5 easier to get back on target
                      after firing a round                           117
                    Thought M2 Carbine easier to get back on
                      target after firing a round                             41

               J. Thought AR-15 more dependable                      107
                  Thought MZ Carbine more dependable                          51

               k.   Thought AR-IS best all around weapon for
                      Infantry use                                   100
                    Thought M2 Carbine best all around weapon
                      for Infantry use                                        58

               L    Thought AR-I 5 climbed least when fired auto-
                      matically                                      117
                    Thought MZ Carbine climbed least when fired
                      automatically                                           41


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            ANEX "B"


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                 n. Thought AR- 15 more accurate when fired full
                         automatic                                         136
                        Thought MZ Carbine more accurate when fired
                         full automatic                                              22
                n.      Would prefer AR-15 in combat                       130
                        Would prefer M2 Carbine in combat                            28

                Analysis:
                a. The majority of test subjects preferred the AR-15 Rifle to the M2
             Carbine in all aspects covered by the poll, except for the sights. Further
             questioning of the subjects by test committee personnel disclosed that this
             preference was due to greater familiarity with carbine-type sights, not
             because of an inability to understand the AR-15 sights. This is not con-
             sidered a shortcoming of the weapon but a matter of training and familiar-
             igation.




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                                             ANNEX I"CI

                            SUGGESTED CORRECTIVE ACTIONS

              DEFICIENCY/I                  SUGGESTED
              SHORTCOM4NG               CORRECTIVE ACTION                        REMARKS

                                               SECTION I

                     Thi5ssation contains deficiencies rqjuirng elimination in order to
              maklre the item acceptable for use on a minimum basis.

                   None                        None                                 None


                                              SECTION II

                     This section list. those deficiencies and shortcomings in the item wvhich
              were discovered during test and satisfactorily corrected prior to completion
              of the test. They no longer represent a defect in the item tested. The cor-
              rection must be applied to the production model of this item

                   None                        None                                 None


                                             SECTION WI

                    This section contains shortcomings which are desired to be corrected
             as practicable, either concurrent with elimination of deficiencies in Section
             1. or in production engineering or by product improvement.

                   1. The upper hand           Roughen surface.                Ltr. from 06WI
             guard is hard to grip                                          ARPA on I1I Jul 62
             when hads are sweaty.                                          states that manu-
                                                                            facturer is now
                                                                            moulding "check-
                                                                            ering" on upper
                                                                            hand guards.

                   L. The weapon               Add one (1) additional
             cleaning rod is of mini-          section and provide
             mum length and hard to            'IT" shaped handle.
             grip.

             ANNEX "C01

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                                              AN4NEX "D"

                                            PHOTOGRAPHS



                     This Annex contains miscellaneous photographs which visually depict

             pertinent aspects of the evaluation of the AR- 15 conducted in South Vietnam.

              PHOTOGRAPHS:

                1.   VN Soldier with AR-IS and Ml Rifle
                2.   VN Soldier with AR-15 and BAR
                3.   M2 Carbine and AR-iS Eifle with Accessories
                4.   VN Soldier with AR-1S and MZ Carbine
                5.   M2 Carbine and AR-1S Rifle
                6.   MZ Carbine and AR-iS Rifle "Field Stripped"
                7.   VC Casualty by AR-IS - IS0 Meters
                8.   VC Casualty By AR-is - 15 Meters




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